Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 1 of 221




                         Exhibit 1
5/1/22, 9:58 AM                                      Case 1:22-cv-03076 Document   1-1
                                                                           FOIA Form – YourFiled
                                                                                            request10/11/22     Page 2 of 221
                                                                                                    has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 01, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On or about May 6, 2020, Elliott Black of the FAA (at that time, the
     Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
     York two documents – 1) a 17-page document entitled “PUBLICLY
     OWNED AIRPORTS that are private-use” and 2) a 1-page document
     entitled “PUBLICLY OWNED AIRPORTS that transitioned from public-
     use to private-use”. This is a request for certain additional documents
     related to them. In particular, I request: * All documents related to the
     documents identified above, including but not limited to the email from
     Black to the Town to which they were attached; related emails between
     Black and/or others at FAA and the Town which preceded or followed that
     email; and any related preparatory work or internal FAA emails or other
     correspondence. * For the airports identified in the second document
     (listed below), all documents regarding how, when, why, and by what
     process they were “transitioned from public-use to private-use”, as
     asserted therein, and any description of the “PPR” (Prior Permission
     Required) restrictions asserted to exist therein, as well as any related
     preparatory work or internal FAA emails or other correspondence related
     to the document. The specific airports: Yakataga, Alaska (0AA1).
     Farewell, Alaska (0AA4). Port Moller, Cold Bay, Alaska (1AK3).
     Shannons Pond, Dillingham, Alaska (AA15). Grapevine Airstrip,
     Roosevelt, Arizona (88AZ). Moffett Federal Airfield, Mountain View,
     California (NUQ). NASA Shuttle Landing Facility, Titusville, Florida (TTS).
     Grand Tower Helipad, Grand Tower, Illinois (3IS9). Liberty-Casey County
     Airport, Kentucky (53KT). Standard Field, Elton, Kentucky (5KY4).
     Paintsville-Prestonburg-Combs Field, Kentucky (9KY9). Barnesville
     Municipal Airport, Minnesota (9MN3). Greeley Municipal Airport,
     Nebraska (NE46). Myrtle Creek Municipal Helipad, Oregon (OG62).
https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/1/22, 9:58 AM                                  Case 1:22-cv-03076 Document   1-1
                                                                       FOIA Form – YourFiled
                                                                                        request10/11/22     Page 3 of 221
                                                                                                has been submitted

     Bowdle Municipal Airport, South Dakota (5SD3). Harrold Municipal
     Airport, South Dakota (SD50). Board County Airport, Crowell, Texas
     (2XA0). Cornell Municipal Airport, Wisconsin (4WI9). * Finally, all internal
     FAA emails or other correspondence to or from Black regarding whether
     he was authorized to communicate with East Hampton about this or any
     other matter.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Jol A Silversmith
     Member


     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                              2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 4 of 221




                         Exhibit 2
                   Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 5 of 221




From:                Jol A. Silversmith
Sent:                Monday, June 6, 2022 5:06 PM
To:                  9-ANM-FOIA@faa.gov
Cc:                  Alicia.Vaughn@faa.gov
Subject:             RE: ANM: Request under the Freedom of Information Act, 5 U.S.C. § 552


Dear Ms. Cummins:

Supplementing my prior correspondence, I have confirmed that the payment for the prior request was cashed on May 26.

Additionally, although I have received acknowledgment of certain FOIA requests that were submitted to the national FOIA
office, I have not received acknowledgement of others. I would therefore like to ask for a status update on the following
requests:

       A request submitted on May 1, requesting records related to East Hampton Airport AIP grants. (A similar request
        also was addressed to the Eastern Region.)




       A request submitted on May 1, requesting records related to documents provided to East Hampton by Elliott Black
        of FAA and the airports identified therein. (A similar request also was addressed to the Eastern Region.)




       A request submitted on May 5, regarding East Hampton TRACON and other agreements with FAA. (A similar
        request also was addressed to the Eastern Region.)




       A request addressed to the Northwest Region dated May 1, specifically requesting records related to the Myrtle
        Creek Municipal Helipad.




       A request addressed to the Northwest Region dated May 1, requesting records related to Grapevine Airstrip and
        Moffett Federal Airfield.




Best regards.
                                                            1
                     Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 6 of 221

Jol

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: Jol A. Silversmith jsilversmith@kmazuckert.com
        Sent: Wednesday, May 4, 2022 5:02 PM
        To: 9‐ANM‐FOIA@faa.gov
        Subject: RE: ANM: Request under the Freedom of Information Act, 5 U.S.C. § 552

        I have been informed that it was initially sent and later re‐sent to the address shown on the check
        (AFN‐400), but has not yet been cashed.


        Many thanks.

        Jol




        From: 9‐ANM‐FOIA (FAA) <9‐ANM‐FOIA@faa.gov>
        Sent: Wednesday, May 4, 2022 12:28 PM
        To: Jol A. Silversmith <jsilversmith@kmazuckert.com>
        Subject: RE: ANM: Request under the Freedom of Information Act, 5 U.S.C. § 552

        Thank you Mr. Silversmith. Can you please tell me where the payment was sent? What you provided
        was a copy of the check, nothing showing it was cashed or where it was sent. This information will help
        us locate the payment.

        Thank you for your help,
        Ms. Cummins




        From: Jol A. Silversmith <jsilversmith@kmazuckert.com>
        Sent: Wednesday, May 4, 2022 7:08 AM
        To: 9‐ANM‐FOIA (FAA) <9‐ANM‐FOIA@faa.gov>


                                                          2
           Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 7 of 221

Cc: Vaughn, Alicia (FAA) <Alicia.Vaughn@faa.gov>
Subject: RE: ANM: Request under the Freedom of Information Act, 5 U.S.C. § 552

Dear Ms. Cummins:

A payment was sent on April 5, 2022. I understand that it was returned to us because it allegedly did not contain
enough information to associate it with a particular request. It has been sent again, with a copy of the invoice
attached.

Jol




From: 9‐ANM‐FOIA (FAA) 9‐ANM‐FOIA@faa.gov
Sent: Tuesday, May 3, 2022 12:44 PM
To: Jol A. Silversmith jsilversmith@kmazuckert.com
Cc: Vaughn, Alicia (FAA) Alicia.Vaughn@faa.gov
Subject: FW: ANM: Request under the Freedom of Information Act, 5 U.S.C. § 552

Good Morning Mr. Silversmith:
We have received your requests regarding various airports across the United States. However, our
records indicate a past due balance for processing FOIA 2022-05052, in the amount of $89.10.
If you have made that payment, please provide verification so that we may update our records. If you
have not, please remit payment to avoid any delay in processing your current requests.
If you have any questions regarding the payment for this request, please contact Alicia Vaughn at
alicia.vaughn@faa.gov.
Please let our office know when the payment issue has been resolved.

Best regards,
Ms. Cummins

National FOIA Management Specialist
(206) 231-2034



From: jsilversmith@kmazuckert.com <jsilversmith@kmazuckert.com>
Sent: Sunday, May 01, 2022 10:05 AM
To: 7‐AWA‐ARC‐FOIA (FAA) <7‐awa‐arc‐foia@faa.gov>
Subject: ANM: Request under the Freedom of Information Act, 5 U.S.C. § 552

Jol A Silversmith
KMA Zuckert LLC
888 17th Street, N.W.
Suite 700
Washington, DC 20006
May 01, 2022
                                                    3
          Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 8 of 221

Federal Aviation Administration
Federal Aviation Administration – Northwest Mountain Region
National Freedom of Information Act Staff, AFN-400W
FOIA Coordinator:
This is a request under the Freedom of Information Act. I request that a copy of the following
documents (or documents containing the following information) be provided to me:
On or about May 6, 2020, Elliott Black of the FAA (at that time, the Director of Airport Policy (ARP-3))
sent the Town of East Hampton, New York a 1-page document entitled “PUBLICLY OWNED
AIRPORTS that transitioned from public-use to private-use”. This is a request for certain related
documents. In particular, I request for the followin airport (as identified in the document): Myrtle Creek
Municipal Helipad, Oregon (OG62). All documents regarding how, when, why, and by what process it
was “transitioned from public-use to private-use”, as asserted therein, and any description of the “PPR”
(Prior Permission Required) restrictions asserted to exist therein
In order to determine my status to assess fees, you should know that my fee category is:
affiliated with a private company and seeking records for the company�'s business.
The maximum dollar amount I am willing to pay for this request is $100. Please notify me if the fees
will exceed $25.00 or the maximum dollar amount I entered.
Thank you for your consideration of this request.
Sincerely,
Jol A Silversmith
Phone: 2029737918
jsilversmith@kmazuckert.com




                                                4
5/1/22, 9:54 AM                                      Case 1:22-cv-03076 Document   1-1
                                                                           FOIA Form – YourFiled
                                                                                            request10/11/22     Page 9 of 221
                                                                                                    has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 01, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     This is a request for records of grants to the Town of East Hampton, New
     York under the Airport Improvement Program, predecessor grant
     programs (ADAP and FAAP), and any other programs with records in
     FAA’s possession, including but not limited to the overall agreements
     between FAA and the Town; supplemental documents, such as Airport
     Property Inventory Maps (typically Exhibit A to a grant application);
     Airport Layout Plans (ALP) and attachments, such as real property maps
     and documentation of the amounts disbursed; as well as any other
     associated communications and guidance between FAA and the Town
     regarding East Hampton Airport (HTO). Moreover, to the extent not
     included in the above request, please provide all APIM, ALP, real
     property, and associated communications and guidance regarding East
     Hampton.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.

     Thank you for your consideration of this request.


     Sincerely,

https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/1/22, 9:54 AM                                  Case 1:22-cv-03076 Document   1-1– Your
                                                                        FOIA Form     Filed   10/11/22
                                                                                         request             Page 10 of 221
                                                                                                 has been submitted

     Jol A Silversmith
     Member

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
5/1/22, 9:58 AM                                      Case 1:22-cv-03076 Document   1-1– Your
                                                                            FOIA Form     Filed   10/11/22
                                                                                             request             Page 11 of 221
                                                                                                     has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 01, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On or about May 6, 2020, Elliott Black of the FAA (at that time, the
     Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
     York two documents – 1) a 17-page document entitled “PUBLICLY
     OWNED AIRPORTS that are private-use” and 2) a 1-page document
     entitled “PUBLICLY OWNED AIRPORTS that transitioned from public-
     use to private-use”. This is a request for certain additional documents
     related to them. In particular, I request: * All documents related to the
     documents identified above, including but not limited to the email from
     Black to the Town to which they were attached; related emails between
     Black and/or others at FAA and the Town which preceded or followed that
     email; and any related preparatory work or internal FAA emails or other
     correspondence. * For the airports identified in the second document
     (listed below), all documents regarding how, when, why, and by what
     process they were “transitioned from public-use to private-use”, as
     asserted therein, and any description of the “PPR” (Prior Permission
     Required) restrictions asserted to exist therein, as well as any related
     preparatory work or internal FAA emails or other correspondence related
     to the document. The specific airports: Yakataga, Alaska (0AA1).
     Farewell, Alaska (0AA4). Port Moller, Cold Bay, Alaska (1AK3).
     Shannons Pond, Dillingham, Alaska (AA15). Grapevine Airstrip,
     Roosevelt, Arizona (88AZ). Moffett Federal Airfield, Mountain View,
     California (NUQ). NASA Shuttle Landing Facility, Titusville, Florida (TTS).
     Grand Tower Helipad, Grand Tower, Illinois (3IS9). Liberty-Casey County
     Airport, Kentucky (53KT). Standard Field, Elton, Kentucky (5KY4).
     Paintsville-Prestonburg-Combs Field, Kentucky (9KY9). Barnesville
     Municipal Airport, Minnesota (9MN3). Greeley Municipal Airport,
     Nebraska (NE46). Myrtle Creek Municipal Helipad, Oregon (OG62).
https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/1/22, 9:58 AM                                  Case 1:22-cv-03076 Document   1-1– Your
                                                                        FOIA Form     Filed   10/11/22
                                                                                         request             Page 12 of 221
                                                                                                 has been submitted

     Bowdle Municipal Airport, South Dakota (5SD3). Harrold Municipal
     Airport, South Dakota (SD50). Board County Airport, Crowell, Texas
     (2XA0). Cornell Municipal Airport, Wisconsin (4WI9). * Finally, all internal
     FAA emails or other correspondence to or from Black regarding whether
     he was authorized to communicate with East Hampton about this or any
     other matter.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Jol A Silversmith
     Member


     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
5/5/22, 11:13 AM                                     Case 1:22-cv-03076 Document   1-1– Your
                                                                            FOIA Form     Filed  10/11/22
                                                                                             request            Page 13 of 221
                                                                                                     has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 05, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     The Town of East Hampton, New York, in recent pleadings filed in state
     court and in DOT and FAA administrative proceedings, has represented
     that it has entered into reimbursable agreements with the FAA, letters of
     agreement with TRACON (N90), and other correspondence related to the
     nominal closure of East Hampton Airport (HTO) and opening of a "new"
     airport, East Hampton Town Airport (JPX). Please provide copies of all of
     the identified documents, and related documents.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,


     Jol A Silversmith
     Member

     Phone: 2029737918
     jsilversmith@kmazuckert.com

https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/5/22, 11:13 AM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                        FOIA Form     Filed  10/11/22
                                                                                         request            Page 14 of 221
                                                                                                 has been submitted



     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                               2/2
5/1/22, 10:04 AM                                     Case 1:22-cv-03076 Document  1-1– Your
                                                                            FOIA Form   Filed   10/11/22
                                                                                            request            Page 15 of 221
                                                                                                    has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 01, 2022


     Federal Aviation Administration
     Federal Aviation Administration – Northwest Mountain Region
     National Freedom of Information Act Staff, AFN-400W


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On or about May 6, 2020, Elliott Black of the FAA (at that time, the
     Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
     York a 1-page document entitled “PUBLICLY OWNED AIRPORTS that
     transitioned from public-use to private-use”. This is a request for certain
     related documents. In particular, I request for the followin airport (as
     identified in the document): Myrtle Creek Municipal Helipad, Oregon
     (OG62). All documents regarding how, when, why, and by what process it
     was “transitioned from public-use to private-use”, as asserted therein,
     and any description of the “PPR” (Prior Permission Required) restrictions
     asserted to exist therein


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Jol A Silversmith



https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/1/22, 10:04 AM                                 Case 1:22-cv-03076 Document  1-1– Your
                                                                        FOIA Form   Filed   10/11/22
                                                                                        request            Page 16 of 221
                                                                                                has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                              2/2
                               Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 17 of 221
      An o!icial website of the United States government Here's how you know "

  ! The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
      United States Department of Transportation




FOIA Form
Your request has been submitted

                                                                                           ×
       Your FOIA request has been submitted. Save or print this page for your
       records.



Jol A Silversmith
KMA Zuckert LLC
888 17th Street, N.W.
Suite 700
Washington, DC 20006


May 01, 2022


Federal Aviation Administration
Federal Aviation Administration – Western-Pacific Region
National Freedom of Information Act Staff, AFN-400W


FOIA Coordinator:


This is a request under the Freedom of Information Act. I request that a
copy of the following documents (or documents containing the following
information) be provided to me:


On or about May 6, 2020, Elliott Black of the FAA (at that time, the
Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
York a 1-page document entitled “PUBLICLY OWNED AIRPORTS that
transitioned from public-use to private-use”. This is a request for certain
related documents. In particular, I request for the following airports (as
identified in the document): Grapevine Airstrip, Roosevelt, Arizona
(88AZ). Moffett Federal Airfield, Mountain View, California (NUQ). All
documents regarding how, when, why, and by what process they were
“transitioned from public-use to private-use”, as asserted therein, and any
description of the “PPR” (Prior Permission Required) restrictions asserted
to exist therein


In order to determine my status to assess fees, you should know that my
fee category is:
affiliated with a private company and seeking records for the
                            Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 18 of 221
company�'s business.


The maximum dollar amount I am willing to pay for this request is $100.
Please notify me if the fees will exceed $25.00 or the maximum dollar
amount I entered.


Thank you for your consideration of this request.


Sincerely,


Jol A Silversmith
Member


Phone: 2029737918
jsilversmith@kmazuckert.com



Page last modified: October 12, 2012 9:24:22 AM EDT
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 19 of 221




                          Exhibit 3
                   Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 20 of 221




From:                Jol A. Silversmith
Sent:                Monday, June 27, 2022 5:20 PM
To:                  9-ANM-FOIA@faa.gov
Cc:                  Alicia.Vaughn@faa.gov
Subject:             RE: ANM: Request under the Freedom of Information Act, 5 U.S.C. § 552


Dear Ms. Cummins:

Supplementing my prior correspondence, I have confirmed that the payment for the prior request was cashed on May 26.

Additionally, although I have received acknowledgment of certain FOIA requests that were submitted to the national FOIA
office, I have not received acknowledgement of others. I would therefore like to ask for a status update on the following
requests:

       A request submitted on May 1, requesting records related to East Hampton Airport AIP grants. (A similar request
        also was addressed to the Eastern Region.)




       A request submitted on May 1, requesting records related to documents provided to East Hampton by Elliott Black
        of FAA and the airports identified therein.




       A request submitted on May 5, regarding East Hampton TRACON and other agreements with FAA. (A similar
        request also was addressed to the Eastern Region.)




       A request addressed to the Northwest Region dated May 1, specifically requesting records related to the Myrtle
        Creek Municipal Helipad.




       A request addressed to the Western-Pacific Region dated May 1, requesting records related to Grapevine Airstrip
        and Moffett Federal Airfield.




Best regards.
                                                            1
                    Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 21 of 221

Jol

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: Jol A. Silversmith jsilversmith@kmazuckert.com
        Sent: Wednesday, May 4, 2022 5:02 PM
        To: 9‐ANM‐FOIA@faa.gov
        Subject: RE: ANM: Request under the Freedom of Information Act, 5 U.S.C. § 552

        I have been informed that it was initially sent and later re‐sent to the address shown on the check
        (AFN‐400), but has not yet been cashed.

        Many thanks.

        Jol




        From: 9‐ANM‐FOIA (FAA) <9‐ANM‐FOIA@faa.gov>
        Sent: Wednesday, May 4, 2022 12:28 PM
        To: Jol A. Silversmith <jsilversmith@kmazuckert.com>
        Subject: RE: ANM: Request under the Freedom of Information Act, 5 U.S.C. § 552

        Thank you Mr. Silversmith. Can you please tell me where the payment was sent? What you provided
        was a copy of the check, nothing showing it was cashed or where it was sent. This information will help
        us locate the payment.

        Thank you for your help,
        Ms. Cummins




        From: Jol A. Silversmith <jsilversmith@kmazuckert.com>
        Sent: Wednesday, May 4, 2022 7:08 AM
        To: 9‐ANM‐FOIA (FAA) <9‐ANM‐FOIA@faa.gov>
        Cc: Vaughn, Alicia (FAA) <Alicia.Vaughn@faa.gov>
        Subject: RE: ANM: Request under the Freedom of Information Act, 5 U.S.C. § 552

                                                          2
           Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 22 of 221


Dear Ms. Cummins:

A payment was sent on April 5, 2022. I understand that it was returned to us because it allegedly did not contain
enough information to associate it with a particular request. It has been sent again, with a copy of the invoice
attached.

Jol




From: 9‐ANM‐FOIA (FAA) 9‐ANM‐FOIA@faa.gov
Sent: Tuesday, May 3, 2022 12:44 PM
To: Jol A. Silversmith jsilversmith@kmazuckert.com
Cc: Vaughn, Alicia (FAA) Alicia.Vaughn@faa.gov
Subject: FW: ANM: Request under the Freedom of Information Act, 5 U.S.C. § 552

Good Morning Mr. Silversmith:
We have received your requests regarding various airports across the United States. However, our
records indicate a past due balance for processing FOIA 2022-05052, in the amount of $89.10.
If you have made that payment, please provide verification so that we may update our records. If you
have not, please remit payment to avoid any delay in processing your current requests.
If you have any questions regarding the payment for this request, please contact Alicia Vaughn at
alicia.vaughn@faa.gov.
Please let our office know when the payment issue has been resolved.

Best regards,
Ms. Cummins

National FOIA Management Specialist
(206) 231-2034



From: jsilversmith@kmazuckert.com <jsilversmith@kmazuckert.com>
Sent: Sunday, May 01, 2022 10:05 AM
To: 7‐AWA‐ARC‐FOIA (FAA) <7‐awa‐arc‐foia@faa.gov>
Subject: ANM: Request under the Freedom of Information Act, 5 U.S.C. § 552

Jol A Silversmith
KMA Zuckert LLC
888 17th Street, N.W.
Suite 700
Washington, DC 20006
May 01, 2022
Federal Aviation Administration
Federal Aviation Administration – Northwest Mountain Region
National Freedom of Information Act Staff, AFN-400W
                                                    3
          Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 23 of 221

FOIA Coordinator:
This is a request under the Freedom of Information Act. I request that a copy of the following
documents (or documents containing the following information) be provided to me:
On or about May 6, 2020, Elliott Black of the FAA (at that time, the Director of Airport Policy (ARP-3))
sent the Town of East Hampton, New York a 1-page document entitled “PUBLICLY OWNED
AIRPORTS that transitioned from public-use to private-use”. This is a request for certain related
documents. In particular, I request for the followin airport (as identified in the document): Myrtle Creek
Municipal Helipad, Oregon (OG62). All documents regarding how, when, why, and by what process it
was “transitioned from public-use to private-use”, as asserted therein, and any description of the “PPR”
(Prior Permission Required) restrictions asserted to exist therein
In order to determine my status to assess fees, you should know that my fee category is:
affiliated with a private company and seeking records for the company�'s business.
The maximum dollar amount I am willing to pay for this request is $100. Please notify me if the fees
will exceed $25.00 or the maximum dollar amount I entered.
Thank you for your consideration of this request.
Sincerely,
Jol A Silversmith
Phone: 2029737918
jsilversmith@kmazuckert.com




                                                4
5/1/22, 9:54 AM                                      Case 1:22-cv-03076 Document   1-1– Your
                                                                            FOIA Form     Filed   10/11/22
                                                                                             request             Page 24 of 221
                                                                                                     has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 01, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     This is a request for records of grants to the Town of East Hampton, New
     York under the Airport Improvement Program, predecessor grant
     programs (ADAP and FAAP), and any other programs with records in
     FAA’s possession, including but not limited to the overall agreements
     between FAA and the Town; supplemental documents, such as Airport
     Property Inventory Maps (typically Exhibit A to a grant application);
     Airport Layout Plans (ALP) and attachments, such as real property maps
     and documentation of the amounts disbursed; as well as any other
     associated communications and guidance between FAA and the Town
     regarding East Hampton Airport (HTO). Moreover, to the extent not
     included in the above request, please provide all APIM, ALP, real
     property, and associated communications and guidance regarding East
     Hampton.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.

     Thank you for your consideration of this request.


     Sincerely,

https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/1/22, 9:54 AM                                  Case 1:22-cv-03076 Document   1-1– Your
                                                                        FOIA Form     Filed   10/11/22
                                                                                         request             Page 25 of 221
                                                                                                 has been submitted

     Jol A Silversmith
     Member

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
5/1/22, 9:58 AM                                      Case 1:22-cv-03076 Document   1-1– Your
                                                                            FOIA Form     Filed   10/11/22
                                                                                             request             Page 26 of 221
                                                                                                     has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 01, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On or about May 6, 2020, Elliott Black of the FAA (at that time, the
     Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
     York two documents – 1) a 17-page document entitled “PUBLICLY
     OWNED AIRPORTS that are private-use” and 2) a 1-page document
     entitled “PUBLICLY OWNED AIRPORTS that transitioned from public-
     use to private-use”. This is a request for certain additional documents
     related to them. In particular, I request: * All documents related to the
     documents identified above, including but not limited to the email from
     Black to the Town to which they were attached; related emails between
     Black and/or others at FAA and the Town which preceded or followed that
     email; and any related preparatory work or internal FAA emails or other
     correspondence. * For the airports identified in the second document
     (listed below), all documents regarding how, when, why, and by what
     process they were “transitioned from public-use to private-use”, as
     asserted therein, and any description of the “PPR” (Prior Permission
     Required) restrictions asserted to exist therein, as well as any related
     preparatory work or internal FAA emails or other correspondence related
     to the document. The specific airports: Yakataga, Alaska (0AA1).
     Farewell, Alaska (0AA4). Port Moller, Cold Bay, Alaska (1AK3).
     Shannons Pond, Dillingham, Alaska (AA15). Grapevine Airstrip,
     Roosevelt, Arizona (88AZ). Moffett Federal Airfield, Mountain View,
     California (NUQ). NASA Shuttle Landing Facility, Titusville, Florida (TTS).
     Grand Tower Helipad, Grand Tower, Illinois (3IS9). Liberty-Casey County
     Airport, Kentucky (53KT). Standard Field, Elton, Kentucky (5KY4).
     Paintsville-Prestonburg-Combs Field, Kentucky (9KY9). Barnesville
     Municipal Airport, Minnesota (9MN3). Greeley Municipal Airport,
     Nebraska (NE46). Myrtle Creek Municipal Helipad, Oregon (OG62).
https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/1/22, 9:58 AM                                  Case 1:22-cv-03076 Document   1-1– Your
                                                                        FOIA Form     Filed   10/11/22
                                                                                         request             Page 27 of 221
                                                                                                 has been submitted

     Bowdle Municipal Airport, South Dakota (5SD3). Harrold Municipal
     Airport, South Dakota (SD50). Board County Airport, Crowell, Texas
     (2XA0). Cornell Municipal Airport, Wisconsin (4WI9). * Finally, all internal
     FAA emails or other correspondence to or from Black regarding whether
     he was authorized to communicate with East Hampton about this or any
     other matter.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Jol A Silversmith
     Member


     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
5/5/22, 11:13 AM                                     Case 1:22-cv-03076 Document   1-1– Your
                                                                            FOIA Form     Filed  10/11/22
                                                                                             request            Page 28 of 221
                                                                                                     has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 05, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     The Town of East Hampton, New York, in recent pleadings filed in state
     court and in DOT and FAA administrative proceedings, has represented
     that it has entered into reimbursable agreements with the FAA, letters of
     agreement with TRACON (N90), and other correspondence related to the
     nominal closure of East Hampton Airport (HTO) and opening of a "new"
     airport, East Hampton Town Airport (JPX). Please provide copies of all of
     the identified documents, and related documents.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,


     Jol A Silversmith
     Member

     Phone: 2029737918
     jsilversmith@kmazuckert.com

https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/5/22, 11:13 AM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                        FOIA Form     Filed  10/11/22
                                                                                         request            Page 29 of 221
                                                                                                 has been submitted



     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                               2/2
5/1/22, 10:04 AM                                     Case 1:22-cv-03076 Document  1-1– Your
                                                                            FOIA Form   Filed   10/11/22
                                                                                            request            Page 30 of 221
                                                                                                    has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 01, 2022


     Federal Aviation Administration
     Federal Aviation Administration – Northwest Mountain Region
     National Freedom of Information Act Staff, AFN-400W


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On or about May 6, 2020, Elliott Black of the FAA (at that time, the
     Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
     York a 1-page document entitled “PUBLICLY OWNED AIRPORTS that
     transitioned from public-use to private-use”. This is a request for certain
     related documents. In particular, I request for the followin airport (as
     identified in the document): Myrtle Creek Municipal Helipad, Oregon
     (OG62). All documents regarding how, when, why, and by what process it
     was “transitioned from public-use to private-use”, as asserted therein,
     and any description of the “PPR” (Prior Permission Required) restrictions
     asserted to exist therein


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Jol A Silversmith



https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/1/22, 10:04 AM                                 Case 1:22-cv-03076 Document  1-1– Your
                                                                        FOIA Form   Filed   10/11/22
                                                                                        request            Page 31 of 221
                                                                                                has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                              2/2
                               Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 32 of 221
      An o!icial website of the United States government Here's how you know "

  ! The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
      United States Department of Transportation




FOIA Form
Your request has been submitted

                                                                                           ×
       Your FOIA request has been submitted. Save or print this page for your
       records.



Jol A Silversmith
KMA Zuckert LLC
888 17th Street, N.W.
Suite 700
Washington, DC 20006


May 01, 2022


Federal Aviation Administration
Federal Aviation Administration – Western-Pacific Region
National Freedom of Information Act Staff, AFN-400W


FOIA Coordinator:


This is a request under the Freedom of Information Act. I request that a
copy of the following documents (or documents containing the following
information) be provided to me:


On or about May 6, 2020, Elliott Black of the FAA (at that time, the
Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
York a 1-page document entitled “PUBLICLY OWNED AIRPORTS that
transitioned from public-use to private-use”. This is a request for certain
related documents. In particular, I request for the following airports (as
identified in the document): Grapevine Airstrip, Roosevelt, Arizona
(88AZ). Moffett Federal Airfield, Mountain View, California (NUQ). All
documents regarding how, when, why, and by what process they were
“transitioned from public-use to private-use”, as asserted therein, and any
description of the “PPR” (Prior Permission Required) restrictions asserted
to exist therein


In order to determine my status to assess fees, you should know that my
fee category is:
affiliated with a private company and seeking records for the
                            Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 33 of 221
company�'s business.


The maximum dollar amount I am willing to pay for this request is $100.
Please notify me if the fees will exceed $25.00 or the maximum dollar
amount I entered.


Thank you for your consideration of this request.


Sincerely,


Jol A Silversmith
Member


Phone: 2029737918
jsilversmith@kmazuckert.com



Page last modified: October 12, 2012 9:24:22 AM EDT
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 34 of 221




                          Exhibit 4
                    Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 35 of 221




From:                 Jol A. Silversmith
Sent:                 Tuesday, July 12, 2022 5:17 PM
To:                   angelique.berry@faa.gov
Cc:                   7-awa-arc-foia@faa.gov
Subject:              Outstanding FOIA Requests


Dear Ms. Berry:

May I request your assistance in determining the status of two FOIA requests that I submitted to FAA more than two
months ago, for which I have received neither an acknowledgement nor a response.

         On May 1, I submitted a request for certain documents related to East Hampton Airport (HTO), including AIP and
          other grants made to the airport by FAA, and related documents.




         Also on May 1, I submitted a request for certain documents related to communications between Elliott Black and
          the Town of East Hampton. Please note that some of the requested documents (i.e., pertaining to other specific
          airports) also were requested from the appropriate regions, but those requests do not duplicate this request.




Many thanks.

Jol

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




                                                             1
5/1/22, 9:54 AM                                      Case 1:22-cv-03076 Document   1-1– Your
                                                                            FOIA Form     Filed   10/11/22
                                                                                             request             Page 36 of 221
                                                                                                     has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 01, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     This is a request for records of grants to the Town of East Hampton, New
     York under the Airport Improvement Program, predecessor grant
     programs (ADAP and FAAP), and any other programs with records in
     FAA’s possession, including but not limited to the overall agreements
     between FAA and the Town; supplemental documents, such as Airport
     Property Inventory Maps (typically Exhibit A to a grant application);
     Airport Layout Plans (ALP) and attachments, such as real property maps
     and documentation of the amounts disbursed; as well as any other
     associated communications and guidance between FAA and the Town
     regarding East Hampton Airport (HTO). Moreover, to the extent not
     included in the above request, please provide all APIM, ALP, real
     property, and associated communications and guidance regarding East
     Hampton.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.

     Thank you for your consideration of this request.


     Sincerely,

https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/1/22, 9:54 AM                                  Case 1:22-cv-03076 Document   1-1– Your
                                                                        FOIA Form     Filed   10/11/22
                                                                                         request             Page 37 of 221
                                                                                                 has been submitted

     Jol A Silversmith
     Member

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
5/1/22, 9:58 AM                                      Case 1:22-cv-03076 Document   1-1– Your
                                                                            FOIA Form     Filed   10/11/22
                                                                                             request             Page 38 of 221
                                                                                                     has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 01, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On or about May 6, 2020, Elliott Black of the FAA (at that time, the
     Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
     York two documents – 1) a 17-page document entitled “PUBLICLY
     OWNED AIRPORTS that are private-use” and 2) a 1-page document
     entitled “PUBLICLY OWNED AIRPORTS that transitioned from public-
     use to private-use”. This is a request for certain additional documents
     related to them. In particular, I request: * All documents related to the
     documents identified above, including but not limited to the email from
     Black to the Town to which they were attached; related emails between
     Black and/or others at FAA and the Town which preceded or followed that
     email; and any related preparatory work or internal FAA emails or other
     correspondence. * For the airports identified in the second document
     (listed below), all documents regarding how, when, why, and by what
     process they were “transitioned from public-use to private-use”, as
     asserted therein, and any description of the “PPR” (Prior Permission
     Required) restrictions asserted to exist therein, as well as any related
     preparatory work or internal FAA emails or other correspondence related
     to the document. The specific airports: Yakataga, Alaska (0AA1).
     Farewell, Alaska (0AA4). Port Moller, Cold Bay, Alaska (1AK3).
     Shannons Pond, Dillingham, Alaska (AA15). Grapevine Airstrip,
     Roosevelt, Arizona (88AZ). Moffett Federal Airfield, Mountain View,
     California (NUQ). NASA Shuttle Landing Facility, Titusville, Florida (TTS).
     Grand Tower Helipad, Grand Tower, Illinois (3IS9). Liberty-Casey County
     Airport, Kentucky (53KT). Standard Field, Elton, Kentucky (5KY4).
     Paintsville-Prestonburg-Combs Field, Kentucky (9KY9). Barnesville
     Municipal Airport, Minnesota (9MN3). Greeley Municipal Airport,
     Nebraska (NE46). Myrtle Creek Municipal Helipad, Oregon (OG62).
https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/1/22, 9:58 AM                                  Case 1:22-cv-03076 Document   1-1– Your
                                                                        FOIA Form     Filed   10/11/22
                                                                                         request             Page 39 of 221
                                                                                                 has been submitted

     Bowdle Municipal Airport, South Dakota (5SD3). Harrold Municipal
     Airport, South Dakota (SD50). Board County Airport, Crowell, Texas
     (2XA0). Cornell Municipal Airport, Wisconsin (4WI9). * Finally, all internal
     FAA emails or other correspondence to or from Black regarding whether
     he was authorized to communicate with East Hampton about this or any
     other matter.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Jol A Silversmith
     Member


     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 40 of 221




                          Exhibit 5
                   Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 41 of 221




From:                Shipp, Judy A (FAA) <Judy.A.Shipp@faa.gov>
Sent:                Wednesday, July 13, 2022 11:49 AM
To:                  Jol A. Silversmith
Subject:             Freedom of Information Act (FOIA) Request 2022-08956


Mr. Silversmith,

This email acknowledges receipt of your FOIA request concerning stated records relative to the two documents from
Elliott Black to the town of East Hampton, NY, and other listed records.

Your request has been assigned for action to the FAA office listed below:

Office of Airports
Angelique Berry, FOIA Coordinator
202‐267‐3832

If you have questions regarding the status of your request, please contact the assigned FOIA coordinator. Please refer to
the FOIA number above in future correspondence regarding this request.

Thank you,

Judy Shipp
FOIA Management Specialist
817‐222‐5059




                                                            1
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 42 of 221




                          Exhibit 6
                     Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 43 of 221




From:                 Jol A. Silversmith
Sent:                 Friday, July 29, 2022 4:16 PM
To:                   angelique.berry@faa.gov
Subject:              RE: Freedom of Information Act (FOIA) Request 2022-08956


Dear Ms. Berry –

One other matter for follow-up – I understand that this request has been assigned to your attention. This request was
originally submitting on May 1, and thus is long overdue. May I request a status update?

Best regards.

Jol

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: Shipp, Judy A (FAA) Judy.A.Shipp@faa.gov
        Sent: Wednesday, July 13, 2022 11:49 AM
        To: Jol A. Silversmith jsilversmith@kmazuckert.com
        Subject: Freedom of Information Act (FOIA) Request 2022‐08956

        Mr. Silversmith,

        This email acknowledges receipt of your FOIA request concerning stated records relative to the two documents
        from Elliott Black to the town of East Hampton, NY, and other listed records.

        Your request has been assigned for action to the FAA office listed below:

        Office of Airports
        Angelique Berry, FOIA Coordinator
        202‐267‐3832

        If you have questions regarding the status of your request, please contact the assigned FOIA coordinator. Please
        refer to the FOIA number above in future correspondence regarding this request.

        Thank you,

        Judy Shipp

                                                            1
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 44 of 221

FOIA Management Specialist
817‐222‐5059




                                       2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 45 of 221




                          Exhibit 7
                   Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 46 of 221




From:                Berry, Angelique (FAA) <angelique.berry@faa.gov>
Sent:                Friday, July 29, 2022 5:09 PM
To:                  Jol A. Silversmith
Cc:                  Savoy, Lisa C (FAA)
Subject:             RE: Freedom of Information Act (FOIA) Request 2022-08956


Hello Mr. Silversmith,

Thank you for your email. Your request was assigned to our office with a target due date for response of 8/10/22.

After careful review of your request, the information in your request #2022‐08956 regarding the airports that you list
are duplicate of information you have already requested in the FOIA requests submitted by you listed below.

    ‐   2022‐06803
    ‐   2022‐06814
    ‐   2022‐06816
    ‐   2022‐06901
    ‐   2022‐07012
    ‐   2022‐07027
    ‐   2022‐07028

If you believe that the subject request is not a duplicate, please clarify the information you are requesting in the subject
request that is not covered in the requests listed below.

Thanks much!
Angelique Berry
Assistant Manager, Administrative Management Staff, ARP‐10
Federal Aviation Administration
Office of Airports
(202) 267‐3832 work
(202) 436‐5535 work cell




Core Values: Integrity - Collaboration - Innovation


From: Jol A. Silversmith <jsilversmith@kmazuckert.com>
Sent: Friday, July 29, 2022 4:16 PM
To: Berry, Angelique (FAA) <angelique.berry@faa.gov>
Subject: RE: Freedom of Information Act (FOIA) Request 2022‐08956

Dear Ms. Berry –

One other matter for follow-up – I understand that this request has been assigned to your attention. This request was
originally submitting on May 1, and thus is long overdue. May I request a status update?

Best regards.

                                                              1
                    Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 47 of 221

Jol

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: Shipp, Judy A (FAA) Judy.A.Shipp@faa.gov
        Sent: Wednesday, July 13, 2022 11:49 AM
        To: Jol A. Silversmith jsilversmith@kmazuckert.com
        Subject: Freedom of Information Act (FOIA) Request 2022‐08956

        Mr. Silversmith,

        This email acknowledges receipt of your FOIA request concerning stated records relative to the two documents
        from Elliott Black to the town of East Hampton, NY, and other listed records.

        Your request has been assigned for action to the FAA office listed below:

        Office of Airports
        Angelique Berry, FOIA Coordinator
        202‐267‐3832

        If you have questions regarding the status of your request, please contact the assigned FOIA coordinator. Please
        refer to the FOIA number above in future correspondence regarding this request.

        Thank you,

        Judy Shipp
        FOIA Management Specialist
        817‐222‐5059




IMPORTANT NOTICE: This electronic mail message and any attached files contain information intended for
the exclusive use of the individual or entity to whom it is addressed and may contain information that is
proprietary, privileged, confidential and/or exempt from disclosure under applicable law. In no event shall
inadvertent transmission constitute a waiver of confidentiality or privilege. If you are not the intended recipient,
you are hereby notified that any viewing, copying, direct or indirect disclosure or distribution of this
                                                            2
                  Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 48 of 221

information is strictly prohibited and may be subject to legal restriction or sanction. Please notify the sender or
postmaster@kmazuckert.com by electronic mail or telephone (+1.312.345.3000) of any unintended recipients
and kindly delete the original message without making any copies. Thank you.




                                                         3
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 49 of 221




                          Exhibit 8
                               Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 50 of 221
      An o!icial website of the United States government Here's how you know "

  ! The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
      United States Department of Transportation




FOIA Form
Your request has been submitted

                                                                                           ×
       Your FOIA request has been submitted. Save or print this page for your
       records.



Jol A Silversmith
KMA Zuckert LLC
888 17th Street, N.W.
Suite 700
Washington, DC 20006


May 01, 2022


Federal Aviation Administration
Federal Aviation Administration – Alaskan Region
National Freedom of Information Act Staff, AFN-400W


FOIA Coordinator:


This is a request under the Freedom of Information Act. I request that a
copy of the following documents (or documents containing the following
information) be provided to me:


On or about May 6, 2020, Elliott Black of the FAA (at that time, the
Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
York a 1-page document entitled “PUBLICLY OWNED AIRPORTS that
transitioned from public-use to private-use”. This is a request for certain
related documents. In particular, I request for the following airports (as
identified in the document): Yakataga, Alaska (0AA1). Farewell, Alaska
(0AA4). Port Moller, Cold Bay, Alaska (1AK3). Shannons Pond,
Dillingham, Alaska (AA15). All documents regarding how, when, why, and
by what process they were “transitioned from public-use to private-use”,
as asserted therein, and any description of the “PPR” (Prior Permission
Required) restrictions asserted to exist therein


In order to determine my status to assess fees, you should know that my
fee category is:
affiliated with a private company and seeking records for the
                            Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 51 of 221
company�'s business.


The maximum dollar amount I am willing to pay for this request is $100.
Please notify me if the fees will exceed $25.00 or the maximum dollar
amount I entered.


Thank you for your consideration of this request.


Sincerely,


Jol A Silversmith
Member


Phone: 2029737918
jsilversmith@kmazuckert.com



Page last modified: October 12, 2012 9:24:22 AM EDT
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 52 of 221




                          Exhibit 9
5/1/22, 10:04 AM                                     Case 1:22-cv-03076 Document  1-1– Your
                                                                            FOIA Form   Filed   10/11/22
                                                                                            request            Page 53 of 221
                                                                                                    has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 01, 2022


     Federal Aviation Administration
     Federal Aviation Administration – Northwest Mountain Region
     National Freedom of Information Act Staff, AFN-400W


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On or about May 6, 2020, Elliott Black of the FAA (at that time, the
     Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
     York a 1-page document entitled “PUBLICLY OWNED AIRPORTS that
     transitioned from public-use to private-use”. This is a request for certain
     related documents. In particular, I request for the followin airport (as
     identified in the document): Myrtle Creek Municipal Helipad, Oregon
     (OG62). All documents regarding how, when, why, and by what process it
     was “transitioned from public-use to private-use”, as asserted therein,
     and any description of the “PPR” (Prior Permission Required) restrictions
     asserted to exist therein


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Jol A Silversmith



https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/1/22, 10:04 AM                                 Case 1:22-cv-03076 Document  1-1– Your
                                                                        FOIA Form   Filed   10/11/22
                                                                                        request            Page 54 of 221
                                                                                                has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                              2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 55 of 221




                         Exhibit 10
                               Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 56 of 221
      An o!icial website of the United States government Here's how you know "

  ! The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
      United States Department of Transportation




FOIA Form
Your request has been submitted

                                                                                           ×
       Your FOIA request has been submitted. Save or print this page for your
       records.



Jol A Silversmith
KMA Zuckert LLC
888 17th Street, N.W.
Suite 700
Washington, DC 20006


May 01, 2022


Federal Aviation Administration
Federal Aviation Administration – Western-Pacific Region
National Freedom of Information Act Staff, AFN-400W


FOIA Coordinator:


This is a request under the Freedom of Information Act. I request that a
copy of the following documents (or documents containing the following
information) be provided to me:


On or about May 6, 2020, Elliott Black of the FAA (at that time, the
Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
York a 1-page document entitled “PUBLICLY OWNED AIRPORTS that
transitioned from public-use to private-use”. This is a request for certain
related documents. In particular, I request for the following airports (as
identified in the document): Grapevine Airstrip, Roosevelt, Arizona
(88AZ). Moffett Federal Airfield, Mountain View, California (NUQ). All
documents regarding how, when, why, and by what process they were
“transitioned from public-use to private-use”, as asserted therein, and any
description of the “PPR” (Prior Permission Required) restrictions asserted
to exist therein


In order to determine my status to assess fees, you should know that my
fee category is:
affiliated with a private company and seeking records for the
                            Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 57 of 221
company�'s business.


The maximum dollar amount I am willing to pay for this request is $100.
Please notify me if the fees will exceed $25.00 or the maximum dollar
amount I entered.


Thank you for your consideration of this request.


Sincerely,


Jol A Silversmith
Member


Phone: 2029737918
jsilversmith@kmazuckert.com



Page last modified: October 12, 2012 9:24:22 AM EDT
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 58 of 221




                         Exhibit 11
                               Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 59 of 221
      An o!icial website of the United States government Here's how you know "

  ! The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
      United States Department of Transportation




FOIA Form
Your request has been submitted

                                                                                           ×
       Your FOIA request has been submitted. Save or print this page for your
       records.



Jol A Silversmith
KMA Zuckert LLC
888 17th Street, N.W.
Suite 700
Washington, DC 20006


May 01, 2022


Federal Aviation Administration
Federal Aviation Administration – Southern Region
National Freedom of Information Act Staff, AFN-400E


FOIA Coordinator:


This is a request under the Freedom of Information Act. I request that a
copy of the following documents (or documents containing the following
information) be provided to me:


On or about May 6, 2020, Elliott Black of the FAA (at that time, the
Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
York a 1-page document entitled “PUBLICLY OWNED AIRPORTS that
transitioned from public-use to private-use”. This is a request for certain
related documents. In particular, I request for the following airports (as
identified in the document): NASA Shuttle Landing Facility, Titusville,
Florida (TTS). Liberty-Casey County Airport, Kentucky (53KT). Standard
Field, Elton, Kentucky (5KY4). Paintsville-Prestonburg-Combs Field,
Kentucky (9KY9). All documents regarding how, when, why, and by what
process they were “transitioned from public-use to private-use”, as
asserted therein, and any description of the “PPR” (Prior Permission
Required) restrictions asserted to exist therein


In order to determine my status to assess fees, you should know that my
fee category is:
                            Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 60 of 221
affiliated with a private company and seeking records for the
company�'s business.


The maximum dollar amount I am willing to pay for this request is $100.
Please notify me if the fees will exceed $25.00 or the maximum dollar
amount I entered.


Thank you for your consideration of this request.


Sincerely,

Jol A Silversmith
Member


Phone: 2029737918
jsilversmith@kmazuckert.com




Page last modified: October 12, 2012 9:24:22 AM EDT
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 61 of 221




                         Exhibit 12
5/1/22, 10:05 AM                                     Case 1:22-cv-03076 Document  1-1– Your
                                                                            FOIA Form   Filed   10/11/22
                                                                                            request            Page 62 of 221
                                                                                                    has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 01, 2022


     Federal Aviation Administration
     Federal Aviation Administration – Central Region
     National Freedom of Information Act Staff, AFN-400C


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On or about May 6, 2020, Elliott Black of the FAA (at that time, the
     Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
     York a 1-page document entitled “PUBLICLY OWNED AIRPORTS that
     transitioned from public-use to private-use”. This is a request for certain
     related documents. In particular, I request for the following airport (as
     identified in the document): Greeley Municipal Airport, Nebraska (NE46).
     All documents regarding how, when, why, and by what process it was
     “transitioned from public-use to private-use”, as asserted therein, and any
     description of the “PPR” (Prior Permission Required) restrictions asserted
     to exist therein


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Jol A Silversmith



https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/1/22, 10:05 AM                                 Case 1:22-cv-03076 Document  1-1– Your
                                                                        FOIA Form   Filed   10/11/22
                                                                                        request            Page 63 of 221
                                                                                                has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                              2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 64 of 221




                         Exhibit 13
5/1/22, 10:03 AM                                     Case 1:22-cv-03076 Document  1-1– Your
                                                                            FOIA Form   Filed   10/11/22
                                                                                            request            Page 65 of 221
                                                                                                    has been submitted

         An official website of the United States government Here's how you know 

    The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                  ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     May 01, 2022


     Federal Aviation Administration
     Federal Aviation Administration – Southwest Region
     National Freedom of Information Act Staff, AFN-400C


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On or about May 6, 2020, Elliott Black of the FAA (at that time, the
     Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
     York a 1-page document entitled “PUBLICLY OWNED AIRPORTS that
     transitioned from public-use to private-use”. This is a request for certain
     related documents. In particular, I request for the following airport (as
     identified in the document): Board County Airport, Crowell, Texas (2XA0).
     All documents regarding how, when, why, and by what process it was
     “transitioned from public-use to private-use”, as asserted therein, and any
     description of the “PPR” (Prior Permission Required) restrictions asserted
     to exist therein


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Jol A Silversmith



https://www.faa.gov/foia/email_foia/submitted/                                                                                                                              1/2
5/1/22, 10:03 AM                                 Case 1:22-cv-03076 Document  1-1– Your
                                                                        FOIA Form   Filed   10/11/22
                                                                                        request            Page 66 of 221
                                                                                                has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                              2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 67 of 221




                         Exhibit 14
                               Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 68 of 221
      An o!icial website of the United States government Here's how you know "

  ! The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.
      United States Department of Transportation




FOIA Form
Your request has been submitted

                                                                                           ×
       Your FOIA request has been submitted. Save or print this page for your
       records.



Jol A Silversmith
KMA Zuckert LLC
888 17th Street, N.W.
Suite 700
Washington, DC 20006


May 01, 2022


Federal Aviation Administration
Federal Aviation Administration – Great Lakes Region
National Freedom of Information Act Staff, AFN-400C


FOIA Coordinator:


This is a request under the Freedom of Information Act. I request that a
copy of the following documents (or documents containing the following
information) be provided to me:


On or about May 6, 2020, Elliott Black of the FAA (at that time, the
Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
York a 1-page document entitled “PUBLICLY OWNED AIRPORTS that
transitioned from public-use to private-use”. This is a request for certain
related documents. In particular, I request for the following airports (as
identified in the document): Grand Tower Helipad, Grand Tower, Illinois
(3IS9). Barnesville Municipal Airport, Minnesota (9MN3). Bowdle
Municipal Airport, South Dakota (5SD3). Harrold Municipal Airport, South
Dakota (SD50). Cornell Municipal Airport, Wisconsin (4WI9). All
documents regarding how, when, why, and by what process they were
“transitioned from public-use to private-use”, as asserted therein, and any
description of the “PPR” (Prior Permission Required) restrictions asserted
to exist therein
                            Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 69 of 221
In order to determine my status to assess fees, you should know that my
fee category is:
affiliated with a private company and seeking records for the
company�'s business.


The maximum dollar amount I am willing to pay for this request is $100.
Please notify me if the fees will exceed $25.00 or the maximum dollar
amount I entered.


Thank you for your consideration of this request.

Sincerely,


Jol A Silversmith
Member


Phone: 2029737918
jsilversmith@kmazuckert.com




Page last modified: October 12, 2012 9:24:22 AM EDT
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 70 of 221




                         Exhibit 15
                    Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 71 of 221




From:                 Jol A. Silversmith
Sent:                 Saturday, July 30, 2022 6:27 AM
To:                   angelique.berry@faa.gov
Cc:                   dedra.goodman@faa.gov; 'Lisa.C.Savoy@faa.gov'
Subject:              RE: Freedom of Information Act (FOIA) Request 2022-08956


Ms. Berry:

As should be evident on its face, the request in No. 2022-8956, is NOT a duplicate. Although requests for documents
related to specific airports also were submitted to regional FAA offices, and potentially could overlap, this FOIA request
specifically sought documents within the sole jurisdiction of headquarters – i.e.:

        All documents related to the documents identified above, including but not limited to the email from Black to the
        Town to which they were attached; related emails between Black and/or others at FAA and the Town which
        preceded or followed that email; and any related preparatory work or internal FAA emails or other
        correspondence.

As the agency may be aware, this request (and other requests) have been made in conjunction with a pending Part 16
proceeding. and a response is long overdue – which leaves an implication that the agency is deliberately withholding
unfavorable documents. If FAA does not respond in a timely fashion, we respectfully submit that we will have the right to
supplement the filings in those proceedings in order to ensure due process – as well as to file a FOIA lawsuit against the
agency to demand their release.

Jol

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: Berry, Angelique (FAA) angelique.berry@faa.gov
        Sent: Friday, July 29, 2022 5:09 PM
        To: Jol A. Silversmith jsilversmith@kmazuckert.com
        Cc: Savoy, Lisa C (FAA) Lisa.C.Savoy@faa.gov
        Subject: RE: Freedom of Information Act (FOIA) Request 2022‐08956

        Hello Mr. Silversmith,

        Thank you for your email. Your request was assigned to our office with a target due date for response of
        8/10/22.




                                                              1
           Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 72 of 221

After careful review of your request, the information in your request #2022‐08956 regarding the airports that
you list are duplicate of information you have already requested in the FOIA requests submitted by you listed
below.

     2022‐06803
     2022‐06814
     2022‐06816
     2022‐06901
     2022‐07012
     2022‐07027
     2022‐07028

If you believe that the subject request is not a duplicate, please clarify the information you are requesting in the
subject request that is not covered in the requests listed below.

Thanks much!
Angelique Berry
Assistant Manager, Administrative Management Staff, ARP‐10
Federal Aviation Administration
Office of Airports
(202) 267‐3832 work
(202) 436‐5535 work cell




Core Values: Integrity - Collaboration - Innovation


From: Jol A. Silversmith jsilversmith@kmazuckert.com
Sent: Friday, July 29, 2022 4:16 PM
To: Berry, Angelique (FAA) angelique.berry@faa.gov
Subject: RE: Freedom of Information Act (FOIA) Request 2022‐08956

Dear Ms. Berry –

One other matter for follow-up – I understand that this request has been assigned to your attention. This request
was originally submitting on May 1, and thus is long overdue. May I request a status update?

Best regards.

Jol

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




                                                     2
           Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 73 of 221




From: Shipp, Judy A (FAA) Judy.A.Shipp@faa.gov
Sent: Wednesday, July 13, 2022 11:49 AM
To: Jol A. Silversmith jsilversmith@kmazuckert.com
Subject: Freedom of Information Act (FOIA) Request 2022‐08956

Mr. Silversmith,

This email acknowledges receipt of your FOIA request concerning stated records relative to the two documents
from Elliott Black to the town of East Hampton, NY, and other listed records.

Your request has been assigned for action to the FAA office listed below:

Office of Airports
Angelique Berry, FOIA Coordinator
202‐267‐3832

If you have questions regarding the status of your request, please contact the assigned FOIA coordinator. Please
refer to the FOIA number above in future correspondence regarding this request.

Thank you,

Judy Shipp
FOIA Management Specialist
817‐222‐5059




                                                    3
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 74 of 221




                         Exhibit 16
                    Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 75 of 221




From:                 Shipp, Judy A (FAA) <Judy.A.Shipp@faa.gov>
Sent:                 Tuesday, August 2, 2022 4:18 PM
To:                   Jol A. Silversmith
Subject:              FW: Freedom of Information Act (FOIA) Request 2022-08956
Attachments:          Silversmith request 2022-08956.pdf


Mr. Silversmith,

This email regards your attached FOIA request. The FAA Airports office believes the subject FOIA request is a duplicate
to the requests below and the information has already been provided to you.

Alaska airports information (2022‐6803)
Oregon airports information (2022‐6814)
Florida and Kentucky airports information (2022‐6901)
Nebraska airports information (2022‐07012)
Texas airport information (2022‐07027)
Airports in Illinois, Minnesota, South Dakota, and Wisconsin (2022‐07028)
Airports in Arizona and California (2022‐06816)

This request will be closed unless clarification is provided that clarifies the difference in the request.

Thank you,

Judy Shipp
FOIA Management Specialist
817‐222‐5059




From: Shipp, Judy A (FAA)
Sent: Wednesday, July 13, 2022 10:49 AM
To: jsilversmith@kmazuckert.com
Subject: Freedom of Information Act (FOIA) Request 2022‐08956

Mr. Silversmith,

This email acknowledges receipt of your FOIA request concerning stated records relative to the two documents from
Elliott Black to the town of East Hampton, NY, and other listed records.

Your request has been assigned for action to the FAA office listed below:

Office of Airports
Angelique Berry, FOIA Coordinator
202‐267‐3832


                                                               1
                   Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 76 of 221

If you have questions regarding the status of your request, please contact the assigned FOIA coordinator. Please refer to
the FOIA number above in future correspondence regarding this request.

Thank you,

Judy Shipp
FOIA Management Specialist
817‐222‐5059




                                                            2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 77 of 221




                         Exhibit 17
                    Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 78 of 221




From:                 Jol A. Silversmith
Sent:                 Tuesday, August 2, 2022 5:39 PM
To:                   Shipp, Judy A (FAA)
Cc:                   angelique.berry@faa.gov; dedra.goodman@faa.gov
Subject:              RE: Freedom of Information Act (FOIA) Request 2022-08956
Attachments:          Silversmith request 2022-08956.pdf


Dear Ms. Shipp:

As was communicated to Ms. Berry last week, the request in No. 2022-8956 is not a duplicate.

Although requests for documents related to specific airports also were submitted to regional FAA offices, and potentially
could overlap, this FOIA request specifically sought documents within the sole jurisdiction of headquarters that were not
requested from other offices – i.e.:

        All documents related to the documents identified above, including but not limited to the email from Black to the
        Town to which they were attached; related emails between Black and/or others at FAA and the Town which
        preceded or followed that email; and any related preparatory work or internal FAA emails or other
        correspondence.

Accordingly, this request should not be closed – if anything, it should be expedited, since it is long overdue.

Jol

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: Shipp, Judy A (FAA) Judy.A.Shipp@faa.gov
        Sent: Tuesday, August 2, 2022 4:18 PM
        To: Jol A. Silversmith jsilversmith@kmazuckert.com
        Subject: FW: Freedom of Information Act (FOIA) Request 2022‐08956

        Mr. Silversmith,

        This email regards your attached FOIA request. The FAA Airports office believes the subject FOIA request is a
        duplicate to the requests below and the information has already been provided to you.

        Alaska airports information (2022‐6803)
        Oregon airports information (2022‐6814)
        Florida and Kentucky airports information (2022‐6901)
                                                              1
           Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 79 of 221

Nebraska airports information (2022‐07012)
Texas airport information (2022‐07027)
Airports in Illinois, Minnesota, South Dakota, and Wisconsin (2022‐07028)
Airports in Arizona and California (2022‐06816)

This request will be closed unless clarification is provided that clarifies the difference in the request.

Thank you,

Judy Shipp
FOIA Management Specialist
817‐222‐5059




From: Shipp, Judy A (FAA)
Sent: Wednesday, July 13, 2022 10:49 AM
To: jsilversmith@kmazuckert.com
Subject: Freedom of Information Act (FOIA) Request 2022‐08956

Mr. Silversmith,

This email acknowledges receipt of your FOIA request concerning stated records relative to the two documents
from Elliott Black to the town of East Hampton, NY, and other listed records.

Your request has been assigned for action to the FAA office listed below:

Office of Airports
Angelique Berry, FOIA Coordinator
202‐267‐3832

If you have questions regarding the status of your request, please contact the assigned FOIA coordinator. Please
refer to the FOIA number above in future correspondence regarding this request.

Thank you,

Judy Shipp
FOIA Management Specialist
817‐222‐5059




                                                       2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 80 of 221




                         Exhibit 18
                    Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 81 of 221




From:                 Jol A. Silversmith
Sent:                 Friday, September 2, 2022 3:41 PM
To:                   Shipp, Judy A (FAA)
Cc:                   angelique.berry@faa.gov; dedra.goodman@faa.gov
Subject:              RE: Freedom of Information Act (FOIA) Request 2022-08956
Attachments:          Silversmith request 2022-08956.pdf


Dear Ms. Shipp:

I would like to check the status of request no. 2022-8956. As communicated last month, it is not a duplicate. Moreover,
more than 20 business days have elapsed since that communication alone – and more than four months since the
request was originally submitted.

Jol Silversmith

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: Jol A. Silversmith
        Sent: Tuesday, August 2, 2022 5:39 PM
        To: Shipp, Judy A (FAA) Judy.A.Shipp@faa.gov
        Cc: angelique.berry@faa.gov; dedra.goodman@faa.gov
        Subject: RE: Freedom of Information Act (FOIA) Request 2022‐08956

        Dear Ms. Shipp:

        As was communicated to Ms. Berry last week, the request in No. 2022-8956 is not a duplicate.

        Although requests for documents related to specific airports also were submitted to regional FAA offices, and
        potentially could overlap, this FOIA request specifically sought documents within the sole jurisdiction of
        headquarters that were not requested from other offices – i.e.:

                  All documents related to the documents identified above, including but not limited to the email from Black
                  to the Town to which they were attached; related emails between Black and/or others at FAA and the
                  Town which preceded or followed that email; and any related preparatory work or internal FAA emails or
                  other correspondence.

        Accordingly, this request should not be closed – if anything, it should be expedited, since it is long overdue.

        Jol


                                                              1
           Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 82 of 221




From: Shipp, Judy A (FAA) Judy.A.Shipp@faa.gov
Sent: Tuesday, August 2, 2022 4:18 PM
To: Jol A. Silversmith jsilversmith@kmazuckert.com
Subject: FW: Freedom of Information Act (FOIA) Request 2022‐08956

Mr. Silversmith,

This email regards your attached FOIA request. The FAA Airports office believes the subject FOIA request is a
duplicate to the requests below and the information has already been provided to you.

Alaska airports information (2022‐6803)
Oregon airports information (2022‐6814)
Florida and Kentucky airports information (2022‐6901)
Nebraska airports information (2022‐07012)
Texas airport information (2022‐07027)
Airports in Illinois, Minnesota, South Dakota, and Wisconsin (2022‐07028)
Airports in Arizona and California (2022‐06816)

This request will be closed unless clarification is provided that clarifies the difference in the request.

Thank you,

Judy Shipp
FOIA Management Specialist
817‐222‐5059




                                                       2
5/1/22, 9:58 AM                                      Case 1:22-cv-03076 Document   1-1– Your
                                                                            FOIA Form     Filed   10/11/22
                                                                                             request             Page 83 of 221
                                                                                                     has been submitted

         An official website of the United States government Here's how you know 

        The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.

        United States Department of Transportation




     FOIA Form
     Your request has been submitted                                                        FOIA Request 2022-08956

                                                                                                    ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006


     May 01, 2022

     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On or about May 6, 2020, Elliott Black of the FAA (at that time, the
     Director of Airport Policy (ARP-3)) sent the Town of East Hampton, New
     York two documents – 1) a 17-page document entitled “PUBLICLY
     OWNED AIRPORTS that are private-use” and 2) a 1-page document
     entitled “PUBLICLY OWNED AIRPORTS that transitioned from public-
     use to private-use”. This is a request for certain additional documents
     related to them. In particular, I request: * All documents related to the
     documents identified above, including but not limited to the email from
     Black to the Town to which they were attached; related emails between
     Black and/or others at FAA and the Town which preceded or followed that
     email; and any related preparatory work or internal FAA emails or other
     correspondence. * For the airports identified in the second document
     (listed below), all documents regarding how, when, why, and by what
     process they were “transitioned from public-use to private-use”, as
     asserted therein, and any description of the “PPR” (Prior Permission
     Required) restrictions asserted to exist therein, as well as any related
     preparatory work or internal FAA emails or other correspondence related
     to the document. The specific airports: Yakataga, Alaska (0AA1).
     Farewell, Alaska (0AA4). Port Moller, Cold Bay, Alaska (1AK3).
     Shannons Pond, Dillingham, Alaska (AA15). Grapevine Airstrip,
     Roosevelt, Arizona (88AZ). Moffett Federal Airfield, Mountain View,
     California (NUQ). NASA Shuttle Landing Facility, Titusville, Florida (TTS).
     Grand Tower Helipad, Grand Tower, Illinois (3IS9). Liberty-Casey County
     Airport, Kentucky (53KT). Standard Field, Elton, Kentucky (5KY4).
     Paintsville-Prestonburg-Combs Field, Kentucky (9KY9). Barnesville
     Municipal Airport, Minnesota (9MN3). Greeley Municipal Airport,
     Nebraska (NE46). Myrtle Creek Municipal Helipad, Oregon (OG62).
https://www.faa.gov/foia/email_foia/submitted/                                                                                                                                  1/2
5/1/22, 9:58 AM                                  Case 1:22-cv-03076 Document   1-1– Your
                                                                        FOIA Form     Filed   10/11/22
                                                                                         request             Page 84 of 221
                                                                                                 has been submitted

     Bowdle Municipal Airport, South Dakota (5SD3). Harrold Municipal
     Airport, South Dakota (SD50). Board County Airport, Crowell, Texas
     (2XA0). Cornell Municipal Airport, Wisconsin (4WI9). * Finally, all internal
     FAA emails or other correspondence to or from Black regarding whether
     he was authorized to communicate with East Hampton about this or any
     other matter.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Jol A Silversmith
     Member


     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 85 of 221




                         Exhibit 19
                     Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 86 of 221


Jol A. Silversmith

From:                 Jol A. Silversmith
Sent:                 Friday, September 23, 2022 4:57 PM
To:                   marc.nichols@faa.gov
Cc:                   shannetta.griffin@faa.gov; dedra.goodman@faa.gov
Subject:              Unacknowledged FOIA Requests
Attachments:          Draft FOIA Complaint.pdf


Dear Mr. Nichols:

As you may be aware, disputes regarding efforts to restrict operations at the airport in East Hampton, New York are
pending both before federal and state courts as well as the FAA. In connection with those proceedings, in May and June
2022 I submitted certain FOIA requests to the FAA, primarily but not exclusively seeking documents under the jurisdiction
of the Associate Administrator for Airports. The agency has responded to some of them; and some others have been
acknowledged although they have not yet been fulfilled.

However, for certain requests, the agency has not even provided an acknowledgement, even though the statutory
deadline for a complete response long since has elapsed and multiple requests for status updates have been sent to the
FAA. Additionally, in one case, FAA did request clarification to confirm that it was not duplicative; that explanation was
provided, but FAA since also has failed to act on that request.

Given that the requests relate to issues of significant interest to both the public and the agency, we hoped that FAA might
actually expedite these requests, not disregard them. We ask your assistance in setting an immediate schedule for the
agency to respond to the four requests summarized in the attached draft complaint; otherwise, we will be compelled to
finalize and file the pleading in the U.S. District Court for the District of Columbia.

We would appreciate a response from the agency, establishing the requested timetable, no later than October 7,
2022. Of course, if there are any matters we might clarify further, we would welcome outreach from your office, or from
the FOIA Liaison.

Best regards.

Jol A. Silversmith



Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




                                                             1
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 87 of 221




                         Exhibit 20
                    Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 88 of 221


Jol A. Silversmith

From:                Goodman, Dedra (FAA) <Dedra.Goodman@faa.gov>
Sent:                Thursday, September 29, 2022 5:14 PM
To:                  Jol A. Silversmith
Subject:             RE: Unacknowledged FOIA Requests



Good afternoon, Mr. Silversmith.

As FAA’s FOIA Officer and FOIA Program Manager, I am looking into the issues raised in your draft complaint. I
am writing to request a copy of the exhibits you reference in that document. You have filed a number of FOIA
requests with the FAA seeking records pertaining to the topics described in your complaint. I am assuming that
most of the exhibits referenced are the FOIA requests you believe require some action from FAA. A copy of these
requests would be helpful to me in ensuring I am looking into all of the requests relevant to your concerns.

You may contact me on all future communications regarding this matter.

Sincerely,
Dedra Goodman
FOIA Officer
Manager, FAA FOIA Program Office, AFN-400
FAA Office of Finance & Management




From: Jol A. Silversmith <jsilversmith@kmazuckert.com>
Sent: Friday, September 23, 2022 4:57 PM
To: Nichols, Marc (FAA) <Marc.Nichols@faa.gov>
Cc: shannetta.griffin@faa.gov; Goodman, Dedra (FAA) <Dedra.Goodman@faa.gov>
Subject: Unacknowledged FOIA Requests

Dear Mr. Nichols:

As you may be aware, disputes regarding efforts to restrict operations at the airport in East Hampton, New York are
pending both before federal and state courts as well as the FAA. In connection with those proceedings, in May and June
2022 I submitted certain FOIA requests to the FAA, primarily but not exclusively seeking documents under the jurisdiction
of the Associate Administrator for Airports. The agency has responded to some of them; and some others have been
acknowledged although they have not yet been fulfilled.

However, for certain requests, the agency has not even provided an acknowledgement, even though the statutory
deadline for a complete response long since has elapsed and multiple requests for status updates have been sent to the
FAA. Additionally, in one case, FAA did request clarification to confirm that it was not duplicative; that explanation was
provided, but FAA since also has failed to act on that request.

Given that the requests relate to issues of significant interest to both the public and the agency, we hoped that FAA might
actually expedite these requests, not disregard them. We ask your assistance in setting an immediate schedule for the
agency to respond to the four requests summarized in the attached draft complaint; otherwise, we will be compelled to
finalize and file the pleading in the U.S. District Court for the District of Columbia.

                                                             1
                     Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 89 of 221
We would appreciate a response from the agency, establishing the requested timetable, no later than October 7,
2022. Of course, if there are any matters we might clarify further, we would welcome outreach from your office, or from
the FOIA Liaison.

Best regards.

Jol A. Silversmith



Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




IMPORTANT NOTICE: This electronic mail message and any attached files contain information intended for the exclusive
use of the individual or entity to whom it is addressed and may contain information that is proprietary, privileged,
confidential and/or exempt from disclosure under applicable law. In no event shall inadvertent transmission constitute a
waiver of confidentiality or privilege. If you are not the intended recipient, you are hereby notified that any viewing,
copying, direct or indirect disclosure or distribution of this information is strictly prohibited and may be subject to legal
restriction or sanction. Please notify the sender or postmaster@kmazuckert.com by electronic mail or telephone
(+1.312.345.3000) of any unintended recipients and kindly delete the original message without making any copies.
Thank you.




                                                              2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 90 of 221




                         Exhibit 21
                    Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 91 of 221


Jol A. Silversmith

From:                 Jol A. Silversmith
Sent:                 Friday, September 30, 2022 4:34 PM
To:                   dedra.goodman@faa.gov
Subject:              RE: Unacknowledged FOIA Requests
Attachments:          FAA FOIA Complaint - Exhibits.pdf


Dear Ms. Goodman:

I have attached the exhibits that correspond to the draft complaint. Please note that you were previously copied on some
of my correspondence.

Although not included in the draft, please take notice of the issues raised in my emails of September 23 and September
27 – i.e., FAA’s assertion that certain documents do not exist..

Jol Silversmith

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: Goodman, Dedra (FAA) Dedra.Goodman@faa.gov
        Sent: Thursday, September 29, 2022 5:14 PM
        To: Jol A. Silversmith jsilversmith@kmazuckert.com
        Subject: RE: Unacknowledged FOIA Requests

        Good afternoon, Mr. Silversmith.

        As FAA’s FOIA Officer and FOIA Program Manager, I am looking into the issues raised in your draft
        complaint. I am writing to request a copy of the exhibits you reference in that document. You have filed a
        number of FOIA requests with the FAA seeking records pertaining to the topics described in your
        complaint. I am assuming that most of the exhibits referenced are the FOIA requests you believe require
        some action from FAA. A copy of these requests would be helpful to me in ensuring I am looking into all
        of the requests relevant to your concerns.

        You may contact me on all future communications regarding this matter.

        Sincerely,
        Dedra Goodman

                                                            1
           Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 92 of 221

FOIA Officer
Manager, FAA FOIA Program Office, AFN-400
FAA Office of Finance & Management




From: Jol A. Silversmith jsilversmith@kmazuckert.com
Sent: Friday, September 23, 2022 4:57 PM
To: Nichols, Marc (FAA) Marc.Nichols@faa.gov
Cc: shannetta.griffin@faa.gov; Goodman, Dedra (FAA) Dedra.Goodman@faa.gov
Subject: Unacknowledged FOIA Requests

Dear Mr. Nichols:

As you may be aware, disputes regarding efforts to restrict operations at the airport in East Hampton, New York
are pending both before federal and state courts as well as the FAA. In connection with those proceedings, in
May and June 2022 I submitted certain FOIA requests to the FAA, primarily but not exclusively seeking
documents under the jurisdiction of the Associate Administrator for Airports. The agency has responded to some
of them; and some others have been acknowledged although they have not yet been fulfilled.

However, for certain requests, the agency has not even provided an acknowledgement, even though the statutory
deadline for a complete response long since has elapsed and multiple requests for status updates have been sent
to the FAA. Additionally, in one case, FAA did request clarification to confirm that it was not duplicative; that
explanation was provided, but FAA since also has failed to act on that request.

Given that the requests relate to issues of significant interest to both the public and the agency, we hoped that
FAA might actually expedite these requests, not disregard them. We ask your assistance in setting an immediate
schedule for the agency to respond to the four requests summarized in the attached draft complaint; otherwise,
we will be compelled to finalize and file the pleading in the U.S. District Court for the District of Columbia.

We would appreciate a response from the agency, establishing the requested timetable, no later than October 7,
2022. Of course, if there are any matters we might clarify further, we would welcome outreach from your office, or
from the FOIA Liaison.

Best regards.

Jol A. Silversmith




                                                    2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 93 of 221




                         Exhibit 22
6/14/22, 2:11 PM                                     Case 1:22-cv-03076 Document   1-1– Your
                                                                            FOIA Form     Filed  10/11/22
                                                                                             request            Page 94 of 221
                                                                                                     has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                         ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th St NW

     Washington, DC 20006


     June 14, 2022

     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400

     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:

     The Town of East Hampton, New York, in recent pleadings filed in state
     court and in DOT and FAA administrative proceedings, has represented
     that it has entered into reimbursable agreements with the FAA, letters of
     agreement with TRACON (N90), and other agreements related to the
     nominal closure of East Hampton Airport (HTO) and opening of a "new"
     airport, East Hampton Town Airport (JPX). A FOIA request was
     previously filed with the Eastern Region (no. 2022-06935), to which the
     Region responded that apart from its responses to Form 7480 submittals,
     the agreements were between other FAA offices and the Town, and thus
     should be requested from the national FOIA office. Consistent with that
     direction, please provide copies of all of the identified documents, and
     related documents.

     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.


     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,


     Jol A Silversmith
     Member
https://www.faa.gov/foia/email_foia/submitted/                                                                                   1/2
6/14/22, 2:11 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                        FOIA Form     Filed  10/11/22
                                                                                         request            Page 95 of 221
                                                                                                 has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                               2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 96 of 221




                         Exhibit 23
5/5/22, 11:16 AM                                     Case 1:22-cv-03076 Document   1-1– Your
                                                                            FOIA Form     Filed  10/11/22
                                                                                             request            Page 97 of 221
                                                                                                     has been submitted

         An official website of the United States government Here's how you know 

        The latest general information on the Coronavirus (COVID-19) is available on Coronavirus.gov. For FAA-specific COVID-19 resources, please visit faa.gov/coronavirus.

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                                    ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006


     May 05, 2022

     Federal Aviation Administration
     Federal Aviation Administration – Eastern Region
     National Freedom of Information Act Staff, AFN-400E


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     The Town of East Hampton, New York, in recent pleadings filed in state
     court and in DOT and FAA administrative proceedings, has represented
     that it has entered into reimbursable agreements with the FAA, letters of
     agreement with TRACON (N90), and other correspondence related to the
     nominal closure of East Hampton Airport (HTO) and opening of a "new"
     airport, East Hampton Town Airport (JPX). Please provide copies of all of
     the identified documents, and related documents.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.


     Sincerely,


     Jol A Silversmith

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT
https://www.faa.gov/foia/email_foia/submitted/                                                                                                                                  1/2
5/5/22, 11:16 AM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                        FOIA Form     Filed  10/11/22
                                                                                         request            Page 98 of 221
                                                                                                 has been submitted
     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                               2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 99 of 221




                         Exhibit 24
                   Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 100 of 221


Jol A. Silversmith

From:                 Jol A. Silversmith
Sent:                 Wednesday, June 8, 2022 7:17 AM
To:                   Alicia.Vaughn@faa.gov
Subject:              RE: FOIA 2022-06935


Dear Ms. Vaughn –

Can I confirm that the one email that I received (as below) was intended to include all responsive documents? I note that
although my request included a request for agreements with the FAA, and the attached documents included discussion
about potential agreements in advance of the nominal closure of HTO last month, no finalized agreements have been
provided.

Best regards.

Jol

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: Vaughn, Alicia (FAA) Alicia.Vaughn@faa.gov
        Sent: Monday, June 6, 2022 4:33 PM
        To: Jol A. Silversmith jsilversmith@kmazuckert.com
        Subject: FOIA 2022‐06935

        Good afternoon Mr. Silversmith,

        Attached you will find your response letter as well as files pertaining to your request. You may receive more
        than one email containing files.

        Thank you,




                                                             1
          Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 101 of 221



Alicia Vaughn
Eastern Region, Airports Division
Management Assistant
(718) 553‐3330




                                        2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 102 of 221




                          Exhibit 25
                                       Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 103 of 221


Jol A. Silversmith

From:                                    Vaughn, Alicia (FAA) <Alicia.Vaughn@faa.gov>
Sent:                                    Wednesday, June 8, 2022 1:32 PM
To:                                      Jol A. Silversmith
Subject:                                 RE: FOIA 2022-06935


Mr. Silversmith:

Thank you for your email. I recommend you contact the FOIA Office as they are responsible for coordination and
assignment of FOIA requests across the agency.

The Eastern Region Airports Division’s action was to process FAA Form 7480s submitted by the airport sponsor for
Deactivation and Reactivation. The sponsor’s submittals and our Letters of Decision (our responses to the 7480
submittals) were included in the documents we provided. The “agreements” referenced in the FOIA request are
between other offices in the FAA and the airport sponsor.

I hope this is helpful.

From: Jol A. Silversmith <jsilversmith@kmazuckert.com>
Sent: Wednesday, June 8, 2022 7:17 AM
To: Vaughn, Alicia (FAA) <Alicia.Vaughn@faa.gov>
Subject: RE: FOIA 2022‐06935

Dear Ms. Vaughn –

Can I confirm that the one email that I received (as below) was intended to include all responsive documents? I note that
although my request included a request for agreements with the FAA, and the attached documents included discussion
about potential agreements in advance of the nominal closure of HTO last month, no finalized agreements have been
provided.

Best regards.

Jol

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com



      The link ed image cannot be
      display ed. The file may hav e
      been mov ed, renamed, or
      deleted. Verify that the link
      points to the correct file and
      location.




                                                                             1
                  Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 104 of 221



From: Vaughn, Alicia (FAA) Alicia.Vaughn@faa.gov
Sent: Monday, June 6, 2022 4:33 PM
To: Jol A. Silversmith jsilversmith@kmazuckert.com
Subject: FOIA 2022‐06935

Good afternoon Mr. Silversmith,

Attached you will find your response letter as well as files pertaining to your request. You may receive more than one
email containing files.

Thank you,




Alicia Vaughn
Eastern Region, Airports Division
Management Assistant
(718) 553‐3330




IMPORTANT NOTICE: This electronic mail message and any attached files contain information intended for the
exclusive use of the individual or entity to whom it is addressed and may contain information that is proprietary,
privileged, confidential and/or exempt from disclosure under applicable law. In no event shall inadvertent transmission
constitute a waiver of confidentiality or privilege. If you are not the intended recipient, you are hereby notified that any
viewing, copying, direct or indirect disclosure or distribution of this information is strictly prohibited and may be subject
to legal restriction or sanction. Please notify the sender or postmaster@kmazuckert.com by electronic mail or telephone
(+1.312.345.3000) of any unintended recipients and kindly delete the original message without making any copies. Thank
you.




                                                              2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 105 of 221




                          Exhibit 26
                   Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 106 of 221




From:                 Jol A. Silversmith
Sent:                 Friday, July 29, 2022 4:16 PM
To:                   7-awa-arc-foia@faa.gov
Cc:                   dedra.goodman@faa.gov
Subject:              FOIA Status Inquiry
Attachments:          FOIA Request - HQ - 06 17 22.pdf; FAA FOIA - HQ - 06 14 22.pdf; FOIA Request - HQ - 06 22 22.pdf;
                      FOIA Request - HQ - 06 24 22.pdf; FOIA Request - HQ - 06 29 22.pdf


Dear Sirs:

I have attached five FOIA requests that were submitted to the FAA last month. Generally, they concern:

         June 14 request – Agreements between the Town of East Hampton, New York and FAA.
         June 17 request – FAA approval of special procedures for East Hampton Town Airport.
         June 22 request – FAA-Town communications regarding newly proposed closure of the airport.
         June 24 request – Additional specific documents that FAA previously requested from the Town.
         June 29 request – FAA guidance letters regarding the Airport Noise and Capacity Act of 1990.

These requests have not been acknowledged, much less fulfilled. I would appreciate a status update.

As the agency may be aware, these requests have been made in conjunction with a pending Part 16 proceeding. If FAA
does not respond in a timely fashion, we respectfully submit that we will have the right to supplement the filings in those
proceedings in order to ensure due process.

Jol

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




                                                             1
6/17/22, 3:18 PM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 107 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, NW
     Suite 700
     Washington, DC 20006

     June 17, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On April 26, 2022, the Town of East Hampton, New York issued a press
     release which stated that FAA on April 22 had “formally approved the
     Town’s application to provide “special procedures,” making instrument
     landings possible at the new, private-use airport.” So far as can be
     determined, this approval has not been made publicly available by FAA –
     nor have the application or any associated materials. This is a request for
     that approval, as well as the application filed by the Town, and any
     associated correspondence and documents, including but not limited to
     items drafted by and sent to or from the Town’s vendor, Flight Tech
     Engineering, as well as correspondence within the FAA, including but not
     limited to how/if the application can and should be expedited.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Mr. Jol A Silversmith



https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/17/22, 3:18 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 108 of 221
                                                                                                 has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
6/14/22, 2:11 PM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 109 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th St NW

     Washington, DC 20006

     June 14, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     The Town of East Hampton, New York, in recent pleadings filed in state
     court and in DOT and FAA administrative proceedings, has represented
     that it has entered into reimbursable agreements with the FAA, letters of
     agreement with TRACON (N90), and other agreements related to the
     nominal closure of East Hampton Airport (HTO) and opening of a "new"
     airport, East Hampton Town Airport (JPX). A FOIA request was
     previously filed with the Eastern Region (no. 2022-06935), to which the
     Region responded that apart from its responses to Form 7480 submittals,
     the agreements were between other FAA offices and the Town, and thus
     should be requested from the national FOIA office. Consistent with that
     direction, please provide copies of all of the identified documents, and
     related documents.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.


     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,


     Jol A Silversmith
     Member
https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/14/22, 2:11 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 110 of 221
                                                                                                 has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
6/22/22, 4:51 PM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 111 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     June 22, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     In an oral presentation to the Board of the Town of East Hampton, New
     York on June 7, 2022, William O’Connor, an attorney with the firm of
     Cooley LLP, stated that: “We have been asked to begin the process of
     understanding and completing the steps to permanently close JPX as
     soon as legally possible. The town has conveyed this message to the
     FAA.” This is a request for all documents dated in or around that date, or
     subsequently, in which O’Connor, Cooley, or the Town communicated
     with FAA regarding plans to close East Hampton Town Airport (JPX),
     a/k/a East Hampton Airport (HTO).


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.


     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.


     Sincerely,

     Jol A Silversmith

     Phone: 2029737918
     jsilversmith@kmazuckert.com


https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/22/22, 4:51 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 112 of 221
                                                                                                 has been submitted

     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
6/24/22, 9:14 AM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 113 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     June 24, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On March 18, 2022, FAA issued a notice that purported to be a
     conditional no objection to the deactivation of East Hampton Airport
     (HTO) by the Town of East Hampton, New York (no. 2022-AEA-313-
     NRA). The notice stated that: “Coordination will be required with the
     airport operator and the FAA National Flight Data Center (NFDC) to
     update the FAA Chart Supplement with the airport decommissioning
     data. The airport needs to coordinate with the NFDC to remove these
     services from Aeronautical Information Services.” Please provide
     correspondence between the Town and the National Flight Data Center
     that was triggered by the notice, and any related correspondence or
     other documents.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Jol A Silversmith



https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/24/22, 9:14 AM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 114 of 221
                                                                                                 has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
6/29/22, 10:25 AM                                  Case 1:22-cv-03076 Document  1-1 – Your
                                                                           FOIA Form  Filed   10/11/22
                                                                                           request           Page 115 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                       ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     June 29, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     The FAA posts certain informal guidance letters that it has issued
     regarding the Airport Noise and Capacity Act of 1990 (“ANCA”) at
     https://www.faa.gov/airports/environmental/airport_noise/part_161/.
     However, the list has not been updated in approximately 20 years, apart
     from formal decisions issued by the FAA in Part 161 proceedings
     regarding BUR and LAX. This is a request for similar informal guidance
     that has been issued by FAA regarding ANCA since 2000, including but
     not limited to letters from the Associate Administrator for Airports or
     deputies thereof; the Chief Counsel or deputies thereof; other national
     FAA offices (e.g., Airport Compliance and Management Analysis, Airport
     Planning and Programming; Airport Safety and Standards; and Policy,
     International Affairs and Environment) and their predecessors; and from
     regional FAA offices that are in the possession of the aforementioned
     officials/offices. By way of further background, certain letters of the type
     requested previously have been obtained from various sources, and
     serve examples of the documents that likely exist and should be
     provided, including a March 4, 2022 letter from Kevin Willis, Director of
     the Office of Airport Compliance and Management Analysis, to Alex
     Gertsen of the National Business Aviation Association: a February 18,
     2020 letter from Lorelei A. Peter, Assistant Chief Counsel, Regulations
     Division, to Jim Gates of the Torrance Airport Association; an August 7,
     2009 letter from Daphne Fuller, Assistant Chief Counsel, Airports and
     Environmental Law Division, to Karl Bohne of Schillinger & Coleman,
     P.A., on behalf of Grant-Valkaria, Florida and a November 26, 2007 letter
     from D. Kirk Shaffer, Associate Administrator for Airports, to Richard
     Bloom, Mayor of Santa Monica, California. The FAA’s FOIA website does
     not provide a means to submit attachments, but these letters certainly
     can be provided, to assist in identifying other documents.
https://www.faa.gov/foia/email_foia/submitted/                                                                                 1/2
6/29/22, 10:25 AM                                Case 1:22-cv-03076 Document  1-1 – Your
                                                                         FOIA Form  Filed   10/11/22
                                                                                         request           Page 116 of 221
                                                                                                 has been submitted

     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.


     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.

     Thank you for your consideration of this request.


     Sincerely,

     Jol A Silversmith

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                               2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 117 of 221




                          Exhibit 27
                   Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 118 of 221




From:                9-AEA-FOIA (FAA) <9-AEA-FOIA@faa.gov>
Sent:                Monday, August 1, 2022 9:46 AM
To:                  Jol A. Silversmith
Cc:                  Goodman, Dedra (FAA)
Subject:             FW: FOIA Acknowledgement Letter - Silversmith
Attachments:         FOIA Ack Letter - Silversmith - #2022-08400 (ARP).pdf



Mr. Silversmith,

We received you email seeking an update to several FOIA requests you sent our office; they were dated June
14, June 17, June 22, June 24, and June 29 of 2022. Below is the email we sent you with the FOIA
acknowledgement letter dated July 5, 2022, for your FOIA request dated June 17, 2022. This request was
assigned to our Headquarters Airports office, ARP-001. They should be contacting you regarding your
response.

More information to come on your other FOIA requests dated June 14, June 22, June 24, and June 29, 2022.

Thanks,
AEA FOIA Office




From: 9‐AEA‐FOIA (FAA) <9‐AEA‐FOIA@faa.gov>
Sent: Monday, June 27, 2022 7:57 AM
To: jsilversmith@kmazuckert.com
Subject: FOIA Acknowledgement Letter ‐ Silversmith

Mr. Silversmith,

Please see the attached FOIA acknowledgement letter.

Thanks,
FOIA Office.




From: jsilversmith@kmazuckert.com <jsilversmith@kmazuckert.com>
Sent: Friday, June 17, 2022 2:02 PM

                                                           1
                 Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 119 of 221

To: 7‐AWA‐ARC‐FOIA (FAA) <7‐awa‐arc‐foia@faa.gov>
Subject: AEA: Request under the Freedom of Information Act, 5 U.S.C. § 552

Jol A Silversmith
KMA Zuckert LLC
888 17th Street, NW
Suite 700
Washington, DC 20006

June 17, 2022

Federal Aviation Administration
Federal Aviation Administration – Eastern Region
National Freedom of Information Act Staff, AFN-400E

FOIA Coordinator:

This is a request under the Freedom of Information Act. I request that a copy of the following documents (or
documents containing the following information) be provided to me:

On May 6, 2019 and April 2, 2021, I submitted FOIA requests (no. 2019-006832 and no. 2021-002773) for
FAA correspondence with or regarding Montauk Airport (MTP) and restrictions applicable to the sale of that
airport (e.g., the terms on which the private owners of the airport could profit from the sale, consistent with the
prohibition on revenue diversion which is applicable because the airport has been a recipient of AIP grants). As
an initial matter, this is a request for any documents regarding the potential sale of MTP and the duration of its
federal obligations, supplementing the prior requests, for which the most recent response was dated July 30,
2021. In addition, this is a request for any documents not previously provided which discuss the means through
which the airport could be closed and/or restrictions adopted by the airport, including if statutes such as ANCA
and 49 U.S.C. 40103(e) would be applicable if the airport were to close and subsequently reopen, similar to the
guidance provided by David Fish of the Eastern Region to the Town of East Hampton, New York in a letter
dated November 6, 2020.

In order to determine my status to assess fees, you should know that my fee category is:

affiliated with a private company and seeking records for the company�'s business.

The maximum dollar amount I am willing to pay for this request is $100. Please notify me if the fees will
exceed $25.00 or the maximum dollar amount I entered.

Thank you for your consideration of this request.

Sincerely,

Mr. Jol A Silversmith

Phone: 2029737918
jsilversmith@kmazuckert.com



Form URL: https://www.faa.gov/foia/email_foia/review/

                                                          2
             Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 120 of 221
User agent: Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
Gecko) Chrome/102.0.0.0 Safari/537.36




                                            3
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 121 of 221




July 5, 2022


Mr. Jol A Silversmith
KMA Zuckert LLC
888 17th Street, NW
Suite 700
Washington, DC 20006

Dear Mr. Silversmith:

RE: Freedom of Information Act (FOIA) Control No. 2022-08400

This letter acknowledges receipt of your FOIA request dated June 17, 2022 concerning
documents regarding the potential sale of MTP and the duration of its federal obligations,
supplementing the prior requests, for which the most recent response was dated July 30, 2021,
etc.

Your request has also been assigned for action to the office(s) listed below:

Federal Aviation Administration               Contact:       Angelique Berry
National Airports (ARP-001)                                  FOIA coordinataor
Washington, DC                                               angelique.berry@faa.gov

Should you wish to inquire as to the status of your request, please contact the assigned FOIA
coordinator(s). Please refer to the above referenced number on all future correspondence
regarding
New York,this
           NYrequest.

Sincerely,

Linda Chatman

Linda Chatman
Government Information Specialist
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 122 of 221




                          Exhibit 28
                     Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 123 of 221




From:                  Jol A. Silversmith
Sent:                  Friday, September 2, 2022 3:41 PM
To:                    9-AEA-FOIA@faa.gov
Cc:                    dedra.goodman@faa.gov
Subject:               RE: FOIA Acknowledgement Letter - Silversmith
Attachments:           FAA FOIA - HQ - 06 14 22.pdf; FOIA Request - HQ - 06 17 22.pdf; FOIA Request - HQ - 06 22 22.pdf;
                       FOIA Request - HQ - 06 24 22.pdf


Dear Sirs:

Per my prior correspondence, multiple FOIA requests that I have submitted to FAA have not been acknowledged, much
less fulfilled. In particular:

       A June 14 request, generally for agreements between the Town of East Hampton, New York and FAA.
       A June 17 request, generally for FAA approvals of special procedures for East Hampton Town Airport.
       A June 22 request, generally for FAA-Town communications regarding the newly proposed closure of the airport.
       A June 24 request, generally regarding additional specific documents that FAA previously requested from the
        Town.

As noted in my August 1, 2022 message, the June 17 request described above should not be conflated with a separate
request filed that same day (and assigned no. 2022-8400) regarding Montauk Airport. I also note that since my last
correspondence, FAA did acknowledge a request submitted on June 29 (no. 2022-9703).

I would appreciate an update.

Jol Silversmith

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: Jol A. Silversmith
        Sent: Monday, August 1, 2022 4:58 PM
        To: 9‐AEA‐FOIA@faa.gov
        Cc: dedra.goodman@faa.gov
        Subject: RE: FOIA Acknowledgement Letter ‐ Silversmith

        Dear Sirs:

        Thank you for your response.

        Although a FOIA request I submitted on June 17, 2022 (regarding Montauk Airport) has been assigned no. 2022-

                                                             1
          Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 124 of 221
8400, my July 29, 2022 inquiry concerned a different FOIA request that was submitted on June 17, 2022 – i.e., as
explicitly indicated in my inquiry, a request concerning FAA’s approval of special procedures for East Hampton
Town Airport. A copy of that request is attached.

Given that it appears this request has been outright overlooked (and like the others identified in my prior email, all
are overdue), I believe it would be a sign of good faith for your office to expedite its processing?

Jol




From: 9‐AEA‐FOIA (FAA) 9‐AEA‐FOIA@faa.gov
Sent: Monday, August 1, 2022 9:46 AM
To: Jol A. Silversmith jsilversmith@kmazuckert.com
Cc: Goodman, Dedra (FAA) Dedra.Goodman@faa.gov
Subject: FW: FOIA Acknowledgement Letter ‐ Silversmith

Mr. Silversmith,

We received you email seeking an update to several FOIA requests you sent our office; they were dated
June 14, June 17, June 22, June 24, and June 29 of 2022. Below is the email we sent you with the
FOIA acknowledgement letter dated July 5, 2022, for your FOIA request dated June 17, 2022. This
request was assigned to our Headquarters Airports office, ARP-001. They should be contacting you
regarding your response.

More information to come on your other FOIA requests dated June 14, June 22, June 24, and June 29,
2022.

Thanks,
AEA FOIA Office




From: 9‐AEA‐FOIA (FAA) <9‐AEA‐FOIA@faa.gov>
Sent: Monday, June 27, 2022 7:57 AM
To: jsilversmith@kmazuckert.com
Subject: FOIA Acknowledgement Letter ‐ Silversmith

Mr. Silversmith,

Please see the attached FOIA acknowledgement letter.

Thanks,
FOIA Office.

                                                      2
             Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 125 of 221




From: jsilversmith@kmazuckert.com <jsilversmith@kmazuckert.com>
Sent: Friday, June 17, 2022 2:02 PM
To: 7‐AWA‐ARC‐FOIA (FAA) <7‐awa‐arc‐foia@faa.gov>
Subject: AEA: Request under the Freedom of Information Act, 5 U.S.C. § 552

Jol A Silversmith
KMA Zuckert LLC
888 17th Street, NW
Suite 700
Washington, DC 20006

June 17, 2022

Federal Aviation Administration
Federal Aviation Administration – Eastern Region
National Freedom of Information Act Staff, AFN-400E

FOIA Coordinator:

This is a request under the Freedom of Information Act. I request that a copy of the following documents (or
documents containing the following information) be provided to me:

On May 6, 2019 and April 2, 2021, I submitted FOIA requests (no. 2019‐006832 and no. 2021‐002773) for FAA
correspondence with or regarding Montauk Airport (MTP) and restrictions applicable to the sale of that airport
(e.g., the terms on which the private owners of the airport could profit from the sale, consistent with the
prohibition on revenue diversion which is applicable because the airport has been a recipient of AIP grants). As
an initial matter, this is a request for any documents regarding the potential sale of MTP and the duration of its
federal obligations, supplementing the prior requests, for which the most recent response was dated July 30,
2021. In addition, this is a request for any documents not previously provided which discuss the means through
which the airport could be closed and/or restrictions adopted by the airport, including if statutes such as ANCA
and 49 U.S.C. 40103(e) would be applicable if the airport were to close and subsequently reopen, similar to the
guidance provided by David Fish of the Eastern Region to the Town of East Hampton, New York in a letter dated
November 6, 2020.

In order to determine my status to assess fees, you should know that my fee category is:

affiliated with a private company and seeking records for the company�'s business.

The maximum dollar amount I am willing to pay for this request is $100. Please notify me if the fees will exceed
$25.00 or the maximum dollar amount I entered.

Thank you for your consideration of this request.

Sincerely,
                                                    3
          Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 126 of 221

Mr. Jol A Silversmith

Phone: 2029737918
jsilversmith@kmazuckert.com




                                        4
6/14/22, 2:11 PM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 127 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th St NW

     Washington, DC 20006

     June 14, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     The Town of East Hampton, New York, in recent pleadings filed in state
     court and in DOT and FAA administrative proceedings, has represented
     that it has entered into reimbursable agreements with the FAA, letters of
     agreement with TRACON (N90), and other agreements related to the
     nominal closure of East Hampton Airport (HTO) and opening of a "new"
     airport, East Hampton Town Airport (JPX). A FOIA request was
     previously filed with the Eastern Region (no. 2022-06935), to which the
     Region responded that apart from its responses to Form 7480 submittals,
     the agreements were between other FAA offices and the Town, and thus
     should be requested from the national FOIA office. Consistent with that
     direction, please provide copies of all of the identified documents, and
     related documents.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.


     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,


     Jol A Silversmith
     Member
https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/14/22, 2:11 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 128 of 221
                                                                                                 has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
6/17/22, 3:18 PM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 129 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, NW
     Suite 700
     Washington, DC 20006

     June 17, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On April 26, 2022, the Town of East Hampton, New York issued a press
     release which stated that FAA on April 22 had “formally approved the
     Town’s application to provide “special procedures,” making instrument
     landings possible at the new, private-use airport.” So far as can be
     determined, this approval has not been made publicly available by FAA –
     nor have the application or any associated materials. This is a request for
     that approval, as well as the application filed by the Town, and any
     associated correspondence and documents, including but not limited to
     items drafted by and sent to or from the Town’s vendor, Flight Tech
     Engineering, as well as correspondence within the FAA, including but not
     limited to how/if the application can and should be expedited.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Mr. Jol A Silversmith



https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/17/22, 3:18 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 130 of 221
                                                                                                 has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
6/22/22, 4:51 PM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 131 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     June 22, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     In an oral presentation to the Board of the Town of East Hampton, New
     York on June 7, 2022, William O’Connor, an attorney with the firm of
     Cooley LLP, stated that: “We have been asked to begin the process of
     understanding and completing the steps to permanently close JPX as
     soon as legally possible. The town has conveyed this message to the
     FAA.” This is a request for all documents dated in or around that date, or
     subsequently, in which O’Connor, Cooley, or the Town communicated
     with FAA regarding plans to close East Hampton Town Airport (JPX),
     a/k/a East Hampton Airport (HTO).


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.


     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.


     Sincerely,

     Jol A Silversmith

     Phone: 2029737918
     jsilversmith@kmazuckert.com


https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/22/22, 4:51 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 132 of 221
                                                                                                 has been submitted

     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
6/24/22, 9:14 AM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 133 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     June 24, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On March 18, 2022, FAA issued a notice that purported to be a
     conditional no objection to the deactivation of East Hampton Airport
     (HTO) by the Town of East Hampton, New York (no. 2022-AEA-313-
     NRA). The notice stated that: “Coordination will be required with the
     airport operator and the FAA National Flight Data Center (NFDC) to
     update the FAA Chart Supplement with the airport decommissioning
     data. The airport needs to coordinate with the NFDC to remove these
     services from Aeronautical Information Services.” Please provide
     correspondence between the Town and the National Flight Data Center
     that was triggered by the notice, and any related correspondence or
     other documents.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Jol A Silversmith



https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/24/22, 9:14 AM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 134 of 221
                                                                                                 has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 135 of 221




                          Exhibit 29
                   Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 136 of 221


Jol A. Silversmith

From:                            9-AEA-FOIA (FAA) <9-AEA-FOIA@faa.gov>
Sent:                            Thursday, September 22, 2022 9:09 AM
To:                              Jol A. Silversmith
Cc:                              Goodman, Dedra (FAA)
Subject:                         FW: FOIA Acknowledgement Letter - Silversmith
Attachments:                     FAA FOIA - HQ - 06 14 22.pdf; 2022-06935 - Silversmith FOIA.pdf; 2022-06935 FOIA
                                 Response Letter.pdf



Mr. Silversmith,

This is a partial response to your email below regarding several (4) FOIA requests you submitted to the
FAA. This email pertains to your FOIA dated June 14, 2022, only. To avoid any confusion, the other three
FOIAs will be addressed in another email.

Your FOIA request dated May 5, 2022 (#2022-06935)-attached), is the same as your FOIA dated June 14, 2022
(above). The FAA’s response (dated June 6, 2022) to your May 5, 2022 FOIA, states that other offices may
have additional documents. However, there are no other FAA offices that have any responsive documents.

Therefore, the FOIA response dated June 6, 2022 is the only and final response to your FOIA request.

Thanks,
Linda

Linda Chatman
National FOIA Coordinator, AFN-400
T – 404-305-5906

Extraordinary people produce extraordinary results – Ali Bahrami




From: Jol A. Silversmith <jsilversmith@kmazuckert.com>
Sent: Friday, September 02, 2022 3:41 PM
To: 9-AEA-FOIA (FAA) <9-AEA-FOIA@faa.gov>
Cc: Goodman, Dedra (FAA) <Dedra.Goodman@faa.gov>
Subject: RE: FOIA Acknowledgement Letter - Silversmith

Dear Sirs:

Per my prior correspondence, multiple FOIA requests that I have submitted to FAA have not been acknowledged, much
less fulfilled. In particular:

       A June 14 request, generally for agreements between the Town of East Hampton, New York and FAA.
       A June 17 request, generally for FAA approvals of special procedures for East Hampton Town Airport.
       A June 22 request, generally for FAA-Town communications regarding the newly proposed closure of the airport.
                                                          1
                     Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 137 of 221
       A June 24 request, generally regarding additional specific documents that FAA previously requested from the
        Town.

As noted in my August 1, 2022 message, the June 17 request described above should not be conflated with a separate
request filed that same day (and assigned no. 2022-8400) regarding Montauk Airport. I also note that since my last
correspondence, FAA did acknowledge a request submitted on June 29 (no. 2022-9703).

I would appreciate an update.

Jol Silversmith

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: Jol A. Silversmith
        Sent: Monday, August 1, 2022 4:58 PM
        To: 9-AEA-FOIA@faa.gov
        Cc: dedra.goodman@faa.gov
        Subject: RE: FOIA Acknowledgement Letter - Silversmith

        Dear Sirs:

        Thank you for your response.

        Although a FOIA request I submitted on June 17, 2022 (regarding Montauk Airport) has been assigned no. 2022-
        8400, my July 29, 2022 inquiry concerned a different FOIA request that was submitted on June 17, 2022 – i.e., as
        explicitly indicated in my inquiry, a request concerning FAA’s approval of special procedures for East Hampton
        Town Airport. A copy of that request is attached.

        Given that it appears this request has been outright overlooked (and like the others identified in my prior email, all
        are overdue), I believe it would be a sign of good faith for your office to expedite its processing?

        Jol




        From: 9-AEA-FOIA (FAA) 9-AEA-FOIA@faa.gov
        Sent: Monday, August 1, 2022 9:46 AM
        To: Jol A. Silversmith jsilversmith@kmazuckert.com
        Cc: Goodman, Dedra (FAA) Dedra.Goodman@faa.gov
        Subject: FW: FOIA Acknowledgement Letter - Silversmith

        Mr. Silversmith,
                                                              2
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 138 of 221


We received you email seeking an update to several FOIA requests you sent our office; they were dated
June 14, June 17, June 22, June 24, and June 29 of 2022. Below is the email we sent you with the
FOIA acknowledgement letter dated July 5, 2022, for your FOIA request dated June 17, 2022. This
request was assigned to our Headquarters Airports office, ARP-001. They should be contacting you
regarding your response.

More information to come on your other FOIA requests dated June 14, June 22, June 24, and June 29,
2022.

Thanks,
AEA FOIA Office




From: 9-AEA-FOIA (FAA) <9-AEA-FOIA@faa.gov>
Sent: Monday, June 27, 2022 7:57 AM
To: jsilversmith@kmazuckert.com
Subject: FOIA Acknowledgement Letter - Silversmith

Mr. Silversmith,

Please see the attached FOIA acknowledgement letter.

Thanks,
FOIA Office.




From: jsilversmith@kmazuckert.com <jsilversmith@kmazuckert.com>
Sent: Friday, June 17, 2022 2:02 PM
To: 7-AWA-ARC-FOIA (FAA) <7-awa-arc-foia@faa.gov>
Subject: AEA: Request under the Freedom of Information Act, 5 U.S.C. § 552

Jol A Silversmith
KMA Zuckert LLC
888 17th Street, NW
Suite 700
Washington, DC 20006

June 17, 2022
                                                  3
                 Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 139 of 221

       Federal Aviation Administration
       Federal Aviation Administration – Eastern Region
       National Freedom of Information Act Staff, AFN-400E

       FOIA Coordinator:

       This is a request under the Freedom of Information Act. I request that a copy of the following
       documents (or documents containing the following information) be provided to me:

       On May 6, 2019 and April 2, 2021, I submitted FOIA requests (no. 2019-006832 and no. 2021-002773)
       for FAA correspondence with or regarding Montauk Airport (MTP) and restrictions applicable to the
       sale of that airport (e.g., the terms on which the private owners of the airport could profit from the sale,
       consistent with the prohibition on revenue diversion which is applicable because the airport has been a
       recipient of AIP grants). As an initial matter, this is a request for any documents regarding the potential
       sale of MTP and the duration of its federal obligations, supplementing the prior requests, for which the
       most recent response was dated July 30, 2021. In addition, this is a request for any documents not
       previously provided which discuss the means through which the airport could be closed and/or
       restrictions adopted by the airport, including if statutes such as ANCA and 49 U.S.C. 40103(e) would be
       applicable if the airport were to close and subsequently reopen, similar to the guidance provided by
       David Fish of the Eastern Region to the Town of East Hampton, New York in a letter dated November
       6, 2020.

       In order to determine my status to assess fees, you should know that my fee category is:

       affiliated with a private company and seeking records for the company�'s business.

       The maximum dollar amount I am willing to pay for this request is $100. Please notify me if the fees
       will exceed $25.00 or the maximum dollar amount I entered.

       Thank you for your consideration of this request.

       Sincerely,

       Mr. Jol A Silversmith

       Phone: 2029737918
       jsilversmith@kmazuckert.com



IMPORTANT NOTICE: This electronic mail message and any attached files contain information intended for
the exclusive use of the individual or entity to whom it is addressed and may contain information that is
proprietary, privileged, confidential and/or exempt from disclosure under applicable law. In no event shall
inadvertent transmission constitute a waiver of confidentiality or privilege. If you are not the intended recipient,
you are hereby notified that any viewing, copying, direct or indirect disclosure or distribution of this
information is strictly prohibited and may be subject to legal restriction or sanction. Please notify the sender or
postmaster@kmazuckert.com by electronic mail or telephone (+1.312.345.3000) of any unintended recipients
and kindly delete the original message without making any copies. Thank you.



                                                         4
6/14/22, 2:11 PM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 140 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th St NW

     Washington, DC 20006

     June 14, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     The Town of East Hampton, New York, in recent pleadings filed in state
     court and in DOT and FAA administrative proceedings, has represented
     that it has entered into reimbursable agreements with the FAA, letters of
     agreement with TRACON (N90), and other agreements related to the
     nominal closure of East Hampton Airport (HTO) and opening of a "new"
     airport, East Hampton Town Airport (JPX). A FOIA request was
     previously filed with the Eastern Region (no. 2022-06935), to which the
     Region responded that apart from its responses to Form 7480 submittals,
     the agreements were between other FAA offices and the Town, and thus
     should be requested from the national FOIA office. Consistent with that
     direction, please provide copies of all of the identified documents, and
     related documents.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.


     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,


     Jol A Silversmith
     Member
https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/14/22, 2:11 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 141 of 221
                                                                                                 has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
           Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 142 of #2022-06935
                                                                FOIA  221


From:            jsilversmith@kmazuckert.com
To:              7-AWA-ARC-FOIA (FAA)
Subject:         AEA: Request under the Freedom of Information Act, 5 U.S.C. § 552
Date:            Thursday, May 05, 2022 11:17:22 AM


Jol A Silversmith
KMA Zuckert LLC
888 17th Street, N.W.
Suite 700
Washington, DC 20006

May 05, 2022

Federal Aviation Administration
Federal Aviation Administration – Eastern Region
National Freedom of Information Act Staff, AFN-400E

FOIA Coordinator:

This is a request under the Freedom of Information Act. I request that a copy of the following
documents (or documents containing the following information) be provided to me:

The Town of East Hampton, New York, in recent pleadings filed in state court and in DOT
and FAA administrative proceedings, has represented that it has entered into reimbursable
agreements with the FAA, letters of agreement with TRACON (N90), and other
correspondence related to the nominal closure of East Hampton Airport (HTO) and opening of
a "new" airport, East Hampton Town Airport (JPX). Please provide copies of all of the
identified documents, and related documents.

In order to determine my status to assess fees, you should know that my fee category is:

affiliated with a private company and seeking records for the company�'s business.

The maximum dollar amount I am willing to pay for this request is $100. Please notify me if
the fees will exceed $25.00 or the maximum dollar amount I entered.

Thank you for your consideration of this request.

Sincerely,

Jol A Silversmith

Phone: 2029737918
jsilversmith@kmazuckert.com

Form URL: https://www.faa.gov/foia/email_foia/review/
User agent: Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36
(KHTML, like Gecko) Chrome/101.0.4951.54 Safari/537.36
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 143 of 221



                          Eastern Region Airports Division          1 Aviation Plaza
                                                                    Jamaica, NY 11434-4809
                                                                    718-553-3330 (office)




June 6, 2022

Mr. Joel A. Silversmith
KMA Zuckert LLC
888 17th Street, N.W.
Suite 700
Washington, DC 20006

Subject: Response to Freedom of Information Act (FOIA) Request 2022-06935

Dear Mr. Silversmith:

This letter responds to your May 5, 2022 FOIA request for "reimbursable agreements with the
FAA, letters of agreement with TRACON (N90), and other correspondence related to the
nominal closure of East Hampton Airport (HTO) and opening of a 'new' airport, East Hampton
Town Airport (JPX)."

The Federal Aviation Administration's (FAA) Eastern Region Airports Division searched for
responsive records. Enclosed are one hundred ten (1) pages of responsive records. We will also
be providing an invoice for processing this request.

You have the right to seek assistance from the FAA FOIA Public Liaison. You can reach them
at (202) 267-7799 or via email at 7-AWA-ARC-FOIA@faa.gov. For emails, include "FOIA
Public Liaison" and the above FOIA Request Number in the subject line.

The FAA FOIA office also provided your request to other FAA offices that may have responsive
records. They will respond to you separately.

Sincerely,




David A. Fish
Director
Eastern Region Airports Division

Enclosures
One hundred ten pages in 22 Portable Document Format (.pdf) files
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 144 of 221




                          Exhibit 30
                   Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 145 of 221


Jol A. Silversmith

From:                             Jol A. Silversmith
Sent:                             Friday, September 23, 2022 4:57 PM
To:                               9-AEA-FOIA@faa.gov
Cc:                               dedra.goodman@faa.gov; linda.chatman@faa.gov
Subject:                          RE: FOIA Acknowledgement Letter - Silversmith
Attachments:                      FAA FOIA - HQ - 06 14 22.pdf; 2022-06935 - Silversmith FOIA.pdf; 2022-06935 FOIA
                                  Response Letter.pdf


Ms. Chatman:

This is to confirm: To the extent that the Town of East Hampton, New York previously represented that “reimbursable
agreements with the FAA to pay for services that were previously federally funded” and “letters of agreement with
TRACON (N90)” (see the Town’s May 9, 2022 letter in Doupe Services, LLC d/b/a Curtis Air Taxi and Jobs Lane Aviation,
LLC v. Town of East Hampton, New York, FAA Docket No. 16-22-05, available at
https://www.regulations.gov/document/FAA-2022-0542-0004) and to the extent that I previously requested copies of those
documents via the May 5, 2022 FOIA request assigned no. 2022-6935 and the supplemental June 14, 2022 request that
is the subject of your message, the FAA’s response is that those documents do not actually exist, and that as a
consequence the Town’s quoted representations in the Part 16 proceeding were false?

Given the potential significance of the FAA’s response to my June 14, 2022 request, I would appreciate your prompt
response.

Jol Silversmith

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: 9-AEA-FOIA (FAA) 9-AEA-FOIA@faa.gov
        Sent: Thursday, September 22, 2022 9:09 AM
        To: Jol A. Silversmith jsilversmith@kmazuckert.com
        Cc: Goodman, Dedra (FAA) Dedra.Goodman@faa.gov
        Subject: FW: FOIA Acknowledgement Letter - Silversmith

        Mr. Silversmith,

        This is a partial response to your email below regarding several (4) FOIA requests you submitted to the
        FAA. This email pertains to your FOIA dated June 14, 2022, only. To avoid any confusion, the other
        three FOIAs will be addressed in another email.


                                                           1
             Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 146 of 221

Your FOIA request dated May 5, 2022 (#2022-06935)-attached), is the same as your FOIA dated June
14, 2022 (above). The FAA’s response (dated June 6, 2022) to your May 5, 2022 FOIA, states that
other offices may have additional documents. However, there are no other FAA offices that have any
responsive documents.

Therefore, the FOIA response dated June 6, 2022 is the only and final response to your FOIA request.

Thanks,
Linda

Linda Chatman
National FOIA Coordinator, AFN-400
T – 404-305-5906

Extraordinary people produce extraordinary results – Ali Bahrami




From: Jol A. Silversmith <jsilversmith@kmazuckert.com>
Sent: Friday, September 02, 2022 3:41 PM
To: 9-AEA-FOIA (FAA) <9-AEA-FOIA@faa.gov>
Cc: Goodman, Dedra (FAA) <Dedra.Goodman@faa.gov>
Subject: RE: FOIA Acknowledgement Letter - Silversmith

Dear Sirs:

Per my prior correspondence, multiple FOIA requests that I have submitted to FAA have not been acknowledged,
much less fulfilled. In particular:

   A June 14 request, generally for agreements between the Town of East Hampton, New York and FAA.
   A June 17 request, generally for FAA approvals of special procedures for East Hampton Town Airport.
   A June 22 request, generally for FAA-Town communications regarding the newly proposed closure of the
    airport.
   A June 24 request, generally regarding additional specific documents that FAA previously requested from the
    Town.

As noted in my August 1, 2022 message, the June 17 request described above should not be conflated with a
separate request filed that same day (and assigned no. 2022-8400) regarding Montauk Airport. I also note that
since my last correspondence, FAA did acknowledge a request submitted on June 29 (no. 2022-9703).

I would appreciate an update.

Jol Silversmith

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com


                                                   2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 147 of 221




                              3
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 148 of 221




                          Exhibit 31
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 149 of 221




William V. O’Connor
T: +1 858 550 6002
woconnor@cooley.com




                                                                                       BY ELECTRONIC MAIL

May 9, 2022

Office of the Chief Counsel
Attention: FAA Part 16 Docket Clerk, AGC-600
Federal Aviation Administration
800 Independence Ave. SW
Washington, DC 20591
9-AWA-AGC-Part-16@faa.gov

       RE:    Doupe Services, LLC d/b/a Curtis Air Taxi and Jobs Lane Aviation,
              LLC v. Town of East Hampton, New York, FAA-2022-0542, Docket No.
              16-22-05

       Pursuant to 14 C.F.R. § 16.26, the Town of East Hampton, New York (the “Town”)

moves to dismiss and for summary judgment on all claims set forth in the complaint filed

by Doupe Services LLC d/b/a Curtis Air Taxi and Jobs Lane Aviation, LLC (the

“Complainants”) against the Town on April 18, 2022 (the “Complaint”) 1 because the

Complainants: (1) failed to comply with mandatory pre-complaint resolution efforts under

14 C.F.R. § 16.21; (2) allege no cognizable injury and thus lack standing to file a

complaint, see id. § 16.26(b)(1)(iii); and (3) allege no cognizable violation of law by the

Town and therefore the Complaint does not warrant enforcement or other action by the

FAA, id. § 16.26(b)(1)(ii).




1Complainants moved to amend their Complaint on April 18, 2022. This motion should
be denied because Complainants have not shown good cause as required under 14
C.F.R. § 16.23(j).
                              Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                                   t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
          Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 150 of 221




May 9, 2022
Federal Aviation Administration
Page Two

      As the FAA is well aware, the public-use East Hampton Airport (“HTO”) will no

longer exist on May 17, 2022. At 9:00 a.m. on May 19, the private-use East Hampton

Town Airport (“JPX”) will open. Despite the two airports sharing a common footprint, each

is legally distinct and must be treated separate and apart from one another. That is

precisely why every aspect of HTO that was publicly funded or sponsored (e.g.,

navigational aids, FCC frequencies, instrument procedures, “shout lines” with TRACON

(N90), flight validation for PAPIs, etc.) has been decommissioned or otherwise transferred

to the Town for consideration, with the Town bearing responsibility for each and every

cost associated with operating JPX going forward. The Complainants beg the FAA to

ignore this basic yet dispositive fact when suggesting that former obligations of HTO apply

to JPX.

      The FAA need not reach the merits of this issue for several reasons discussed

infra. But to the extent the FAA proceeds to adjudicate this matter, summary judgment

should be granted in favor of the Town because there is no compliance issue here.

                                Summary and Background

      Far from running afoul of federal law, the Town has worked with the FAA to address

the Town’s desire to obtain local control over the East Hampton Airport (“HTO”). Noise

and environmental issues stemming from HTO have negatively impacted the Town and

its residents for decades, and the efforts to solve these problems have stretched equally

as long. That much is undisputed. Over the past two years, the Town—in coordination

with the FAA—developed a plan pursuant to 14 C.F.R. § 157 to permanently close HTO

                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
        Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 151 of 221




May 9, 2022
Federal Aviation Administration
Page Three

on May 17, 2022, and open the new, private-use JPX on May 19, 2022. The FAA has

approved the Town’s plan when required, provided “no objection” letters of determination

after completing airspace analyses regarding both the deactivation of HTO and activation

of JPX, approved the Town’s special procedures for JPX, published notice of the

permanent closure of HTO in the Federal Register, and otherwise ensured that, when it

opens, JPX will have all safety and operational capabilities that were available at HTO.

      A.     HTO Outgrows the Town.

      The Town currently owns, sponsors, and operates HTO, which serves a mix of

recreational aircraft and unscheduled or on-demand charter and air taxi operators who

shuttle summer residents, weekend visitors, and tourists to and from New York City. Due

to grant obligations imposed by federal funding that the Town accepted in September

2001, HTO is currently a “public-use” airport, such that the Town cannot control (i) who

flies into or out of HTO; (ii) when these operators make use of HTO; or (iii) how loudly,

noisily, or frequently they do so. The burden on the Town and its residents resulting from

these operations has been intense—for example, during the summer season, HTO

commonly experienced 400 or more takeoffs or landings in a single day, an overwhelming

majority of which were commercial operations pursuant to Part 135; this amounts to

approximately one operation every 90 seconds during daylight hours. (See Declaration

of Supervisor Peter Van Scoyoc (“Supervisor Decl.”) ¶ 9.)

      Given the negative impact of operations to and from HTO on the health and quality

of life of the East Hampton community, the Town’s citizens demanded action, leading the

                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 152 of 221




May 9, 2022
Federal Aviation Administration
Page Four

Town to try various ways to mitigate or eliminate these negative impacts stemming from

HTO. Some Town residents also took matters into their own hands by suing the FAA and

the Department of Transportation in 2003 to limit the duration and extent of the Town’s

grant-assurance obligations, in order to allow HTO to be closed by a future Town Board.

(See id. ¶ 10.) That litigation resulted in a 2005 settlement, under which the FAA agreed

that certain grant assurances would not apply to HTO starting January 1, 2015. (See id.

¶ 11, Ex. 3; id. ¶ 12.) This 2005 settlement—along with guidance provided by the FAA to

former U.S. Representative Timothy Bishop—was the genesis of the Town’s 2015 local

laws that were designed to implement reasonable limits on the use of HTO (the “Local

Laws”). (See id. ¶ 11; id. ¶ 16, Ex. 5.)

       Despite the 2005 Settlement, a small subset of aviation businesses sued the Town

to challenge the Local Laws, and that litigation was resolved by the Second Circuit in

Friends of the East Hampton Airport, Inc. v. Town of East Hampton, 841 F.3d 133 (2d Cir.

2016). While acknowledging HTO’s various negative effects on the Town’s residents and

“express[ing] no view as to the wisdom of the local laws,” id. at 137, 140, the Second

Circuit held that the Airport Noise and Capacity Act of 1990 (“ANCA”) applied to all public-

use airports and therefore preempted the Local Laws. Id. at 140, 147. 2 Thus, so long as



2The Second Circuit’s reference to “public airports” is a reference to “public-use airports.”
This phrase can only be interpreted one way: any proprietor of a public-use airport.
Under this commonsense interpretation, the Second Circuit’s decision would mean that
ANCA applies to an airport sponsor, regardless whether it is a public or private entity, if—
but only if—the sponsor had accepted federal grant funds related to that airport. Pertinent
here, this would mean that privately owned airports that had accepted federal funds, such
                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
        Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 153 of 221




May 9, 2022
Federal Aviation Administration
Page Five

HTO remained public-use—a status that it was required to maintain until September 26,

2021—the Town's ability to require prior permission to use HTO was limited under federal

law. (Supervisor Decl. ¶ 24, Ex. 1.)

      B.     After Seeking Guidance from the FAA and Commencing an Extensive
             Public Process, the Town Decides to Close HTO and Open JPX.

      Leading up the September 26, 2021, grant-assurance expiration, the Town

coordinated with state and federal regulators, retained several expert consultants, and

engaged with the community—all in furtherance of a wide-ranging, ongoing, and

transparent public process to decide the most suitable future for an airport in East

Hampton, if any. Throughout the public process, the FAA has been an active, critical,

and supportive partner to the Town, including by providing express guidance to the Town,

including a November 6, 2020, letter (the “Letter”) 3 outlining the Town’s options when the

grant assurances expired:

      1. Negotiation of an agreement for mandatory restrictions on aircraft
      operators per ANCA as set forth in 14 C.F.R. §§ 161.1, et seq.;
      2. Closure of the airport after the grant assurances expire (September 2021)
      and opening of a new, private-use airport;
      3. Complete closure of the airport after the grant assurances expire
      (September 2021); or
      4. Continue to operate the airport as a public-use airport.

as Montauk Airport (MTP), are subject to ANCA. And publicly owned airports that did not
accept federal funds, such as JPX, are not.
3 David Fish, Director of the Eastern Region, Airports Division, signed the letter and

copied multiple leadership and legal officials at the FAA, including Jennifer Solomon,
Eastern Region Administrator; Maria Stanco, Eastern Region Deputy Administrator; Mary
M. McCarthy, Regional Counsel, Eastern and New England Regions; and Jim Schultz,
General Manager, NY District.
                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 154 of 221




May 9, 2022
Federal Aviation Administration
Page Six


(Id. ¶ 23, Ex. 1.)

       Subsequently, extensive discussions between the FAA, expert consultants, and

the community made clear to the Town Board that only the second option would

accomplish the goals of, on the one hand, protecting the community and enhancing its

quality of life and, on the other hand, preserving a local airport. (See, e.g., id. ¶¶ 25–38.)

Specifically, this plan would permit the Town to exercise a measure of local control over

its airport, provide the Town with the flexibility to address community concerns, and allow

aviation stakeholders continued use of a safe and capable airport subject to reasonable

limits. (Id. ¶ 49.)

       Importantly, in the November 2020 Letter, the FAA confirmed that the closure-and-

opening process (Option 2 in the Letter) would “extinguish[]” the Town’s statutory

obligations (termed, “FAA obligations”)—noting that after closing HTO, “[t]he Town could

also re-open as a . . . private-use airport made available to others by the Town through

authorized rights or by requiring prior permission.” (Id. ¶ 24, Ex. 1 (emphasis added).)

Thus, the Town, like any other proprietor of a private-use airport, could “requir[e] prior

permission” to be obtained by operators before they could make use of a new, private-

use airport—also known as a “PPR” or “Prior Permission Required” framework—and set

limits on the type and frequency of certain airport operations. (Id.)

       Relying on the FAA’s guidance, the Town accelerated its efforts to address the

problems caused by HTO and initiated a formal public process to determine the


                           Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                                t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
        Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 155 of 221




May 9, 2022
Federal Aviation Administration
Page Seven

community’s preference for the airport moving forward. The Town invited feedback from

East Hampton residents, other surrounding communities, and aviation stakeholders;

remained in close contact with the FAA and NYSDOT to ensure compliance with all state

and federal obligations; coordinated decision making in compliance with New York’s

environmental laws; and commissioned reports from expert consultants on potential

environmental, economic, zoning, and noise effects of modifying operations at HTO to

fully inform the Town’s decision-making process. (Id. ¶¶ 25–40.) Notably, neither of the

Complainants participated in that process. (Id. ¶ 35.)

      The Town also engaged two consultants to help manage an extensive and detailed

community engagement process. (See id. ¶¶ 34–36, 57.) From this diversity of views,

patterns of consensus emerged. For instance, during the several Town-hosted public

workshops, approximately 80% of participants stated that continuing to operate HTO as

a public-use airport was “unacceptable” and “changes to airport operations were needed,”

whereas only 5% of participants were comfortable keeping HTO as is. (Id. ¶ 36, Ex. 8.)

Similarly, feedback received during the community engagement sessions showed that

the overwhelming majority of community members and airport users would not tolerate

keeping HTO as it had been historically used, but also felt a modified airport with fewer

operations and more local control would be preferable to altogether losing access to an

airport in East Hampton. (See, e.g., id. ¶¶ 4, 21–25, 34–37.)

      Thus, the Town Board had its mandate: pursue the closure-and-opening process

recommended by the FAA to sensibly regulate a new, private-use airport to balance

                         Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                              t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
        Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 156 of 221




May 9, 2022
Federal Aviation Administration
Page Eight

community needs with the interests of airport users. (Id. ¶ 37.) And if that balancing act

proved impossible, the community’s near-unanimous agreement was that keeping HTO

as-is would be intolerable and accordingly the Town would need to altogether forego

sponsoring an airport in East Hampton. (Id. ¶ 37.)

      C.     Working with the FAA, the Town Developed a Detailed Plan to
             Deactivate HTO and Open JPX.

      To execute this plan, the Town continued to work with the FAA. Specifically, on

January 20, 2022, after months spent discussing the best path forward with the FAA and

in reliance on the November 2020 Letter, the Town filed two Form 7480-1s with the FAA,

which notified the FAA that the Town planned to deactivate HTO on February 28, 2022,

and activate a new, private-use airport on March 4, 2022. (Id. ¶ 39, Exs. 24–25.) After

further discussions with the FAA regarding the significant work required to complete the

deactivation and activation processes, on February 16, 2022, the FAA suggested that the

Town postpone the deactivation of HTO from February until May. The Town agreed. (Id.

¶ 42, Ex. 27.) That postponement would coincide with FAA charting cycles and allow the

Town and FAA to complete several critical tasks to accomplish the deactivation of HTO

and activation of the new, private-use airport in the least disruptive way possible. All

those critical tasks have now been completed.

      In March 2022, the FAA issued a “no objection” letter greenlighting the Town’s

deactivation of HTO at 11:59 p.m. on May 17, 2022, and activation of the new, private-

use airport at 9:00 a.m. on May 19, 2022. (Id. ¶ 46, Exs. 30–32; id. ¶ 45, Ex. 29.) The


                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
        Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 157 of 221




May 9, 2022
Federal Aviation Administration
Page Nine

FAA also issued a LocID to the new airport, “JPX.” (Id. ¶ 46, Ex. 32.) Over the next few

weeks, all the navigational, communication, and weather aids were confirmed to be

available at JPX upon opening on May 19. Then, on April 22, 2022, the FAA confirmed

that the Town’s special use instrument procedures were approved, in turn confirming that

every safety and operational capability available at HTO will be available upon opening

of JPX. (See id. ¶ 47.)

      The Complainants dismiss the closing of HTO and opening of JPX as a “sleight-

of-hand maneuver” that is “audacious, “cunning,” and “transparent gamesmanship.”

(Compl. at 1, 6, 11.) But as the FAA well knows, that assertion ignores critical facts, as

well as the substance and extent of the significant coordination required to deactivate

HTO and, separately, activate JPX as a private-use airport. The collaboration between

the FAA and Town to permanently close HTO and open JPX has been extensive, wide-

reaching, and compliant with every applicable statute or regulation.

             1.     JPX relies on different systems and is separate and distinct
                    from HTO.

      The Town has worked with the FAA through a lengthy, collaborative process to

check off every mandatory item necessary to deactivate HTO and activate JPX. This

involved decommissioning several aeronautical services currently in operation at HTO,

such as HTO’s communication, navigational, and weather aids; its privately funded air

traffic control tower pursuant to Form 7900.2D; its publicly funded and maintained

instrument flight procedures; and letters of agreement for HTO between the Town and


                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
          Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 158 of 221




May 9, 2022
Federal Aviation Administration
Page Ten

the FAA (e.g., TRACON (N90)). (Supervisor Decl. ¶ 45, Ex. 29.) Concurrently, the Town

worked closely with the FAA to obtain approval to activate JPX, which will be “new” in

every sense of the word. To give just a few examples, JPX has a new name (East

Hampton Town Airport), a new LocID (JPX), and it will not be part of the National Plan of

Integrated Airports. It also will be newly designated on FAA charts and has its own private

special procedures; reimbursable agreements with the FAA to pay for services that were

previously federally funded; a re-designated FCC frequency allocation; a newly

commissioned private air traffic control tower; letters of agreement with TRACON (N90)

for coordination with the JPX tower; and self-funded navigation aid flight validations. (Id.

¶ 45.)

         The processes undertaken to secure these results were not simple and cannot be

glossed over as a legal fiction. Rather, they were undertaken to ensure that as of May

17, HTO will be retired and that come May 19, the Town will open a new, private-use

airport. The Town has expended considerable time and resources trying to achieve a

balance between the community’s needs and aviation stakeholders’ desires in full

reliance on the FAA’s November 2020 Letter. Those efforts and the Town’s resulting

actions, in turn, have been supported by the FAA and its staff. In the end, JPX is not and

will not be the same as HTO and cannot be treated as such. Period. Accordingly, any

obligations that once attached to HTO do not apply to JPX.




                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 159 of 221




May 9, 2022
Federal Aviation Administration
Page Eleven

               2.      JPX’s 2022 Season PPR Rules treat all aircraft operators
                       equally.

       The Town recently enacted the trial PPR rules that will govern during the 2022

summer season (“2022 Season”) as required by the Town’s environmental review

process under SEQRA. (See id. ¶ 51, Ex. 33.) 4 The Town’s 2022 summer season trial

PPR largely grants operators blanket permission to operate subject to reasonable

limitations (i.e., a curfew, a daily roundtrip limit for “noisy” aircraft, etc.), reflecting an effort

by the Town to balance the community’s concerns while keeping an airport open for use

in East Hampton. (Id.)

       Contrary to the Complainants’ suggestions, those rules do not ban any operator

who has previously used HTO. (Id.) Pertinent here, the trial PPR rules certainly do not

ban Complainants. Doupe Services alleges that it operates a Cessna 150 and a Cessna

172 under Part 91 and a Beech Baron under Part 135. Jobs Lane Aviation alleges that it

operates a Cessna C525 under Part 91. (See Compl. at 5.) The Cessna 150 and 172

can use JPX subject only to a reasonable curfew, and the Baron and C525 are subject to

the curfew plus a one-roundtrip-per-day limit. There is no allegation that either operator

will be meaningfully impacted—if impacted at all—under the trial PPR rules. Moreover,

the Complainants cite no evidence that these rules will operate to bar any operator from

using JPX—because there is none. And to be sure, the absence of such an allegation is

4These trial rules were approved on May 5, 2022, and do not prohibit any operator from
using JPX. See Rules and Regulations for E. Hampton Town Airport (effective May 19,
2022),     https://ehamptonny.gov/DocumentCenter/View/12711/TOEH---Airport-Rules-
and-Regulations1-final.
                             Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                                  t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
        Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 160 of 221




May 9, 2022
Federal Aviation Administration
Page Twelve

not an oversight. Instead, it is recognition that the Town’s efforts to balance community

needs with sponsoring a local airport are more than reasonable and allow all operators to

make use of JPX.

                                             Argument

      The FAA need not reach the substantive question regarding whether statutory

obligations apply to JPX. Indeed, there are multiple, independent grounds for the FAA to

dismiss the Complaint short of the merits, including (1) a procedural defect related to the

Complainants’ failure to satisfy the mandatory pre-complaint resolution process, and (2) a

standing defect arising from the Complainants’ failure to allege any harm. Looking to the

merits themselves, the Complainants fail to allege a cognizable compliance issue against

the Town to warrant enforcement.             For each reason, the FAA should dismiss the

Complaint. 5

                Failure to Comply with Pre-Complaint Resolution Efforts

      The Complainants have failed to comply with mandatory pre-complaint resolution

efforts before filing their Complaint as it relates to allegations regarding HTO. The FAA

has set forth a detailed procedural regime governing “all . . . proceedings involving

Federally-assisted airports,” including actions initiated via administrative complaint. See

14 C.F.R. § 16.1, et seq. These rules require the Complainants to “initiate and engage in




5 If the FAA chooses not to dismiss the Complaint on procedural grounds and proceeds
to consider the Complaint on its merits, there is no exigency to require “expedited action”
under 14 C.F.R. § 16.11(b), as the Complainants request. (Compl. at 1.)
                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 161 of 221




May 9, 2022
Federal Aviation Administration
Page Thirteen

. . . substantial and reasonable good faith efforts to resolve the disputed matter informally

prior to filing [a] complaint.” Id. § 16.21(a)–(b) (emphasis added). Adherence to this

procedure must be certified in the complaint and “demonstrated by pertinent

documentation.”     Id. § 16.21(c).          Importantly, non-compliant complaints must be

dismissed. Id. § 16.27 (stating “the Director will dismiss” complaints that are “deficient as

to one or more of the requirements set forth in [14 C.F.R.] § 16.21” (emphasis added)).

       The Complainants acknowledge that they are ignoring this basic, pre-filing

requirement, citing “the circumstances of this case.” (Compl. at 10.) The Complainants

argue procedural compliance would be futile given the Town’s “clear” position regarding

the future of the airport. Id. But the FAA’s administrative scheme is not subject to a futility

standard, as demonstrated by the “mandatory” language of the regulation and the FAA’s

strict enforcement of § 16.21. See, e.g., Mark Shinnick v. Mojave Air & Space Port, FAA

Docket No. 16-19-13, 2019 WL 10272368, at *1 (Oct. 22, 2019) (“The FAA’s requirement

for documented efforts to resolve this specific matter are mandatory and must be

accomplished . . . .” (emphases added)). 6



6 Accord Haynes Ceo Dehas Ltd. d/b/a Blue Ridge Nebula Starlines v. Adams Cnty., FAA
Docket No. 16-22-03, 2022 WL 1039795, at *1 (Mar. 28, 2022) (“Complaints filed under
Part 16 will not be considered unless the person or authorized representative filing the
complaint certifies that substantial and reasonable good faith efforts to resolve the
disputed matter informally prior to filing the complaint have been made and that there
appears no reasonable prospect for timely resolution of the dispute.”); Above All Aviation
v. City of Santa Barbara, FAA Docket No. 16-22-02, 2022 WL 1039793, at *1 (Mar. 23,
2022) (“Prior to filing a Part 16 complaint, a person directly and substantially affected by
the alleged noncompliance must engage in good faith efforts to resolve the disputed
matter informally with those individuals or entities believed responsible for the
                           Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                                t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 162 of 221




May 9, 2022
Federal Aviation Administration
Page Fourteen

       Counterintuitively, the two FAA determinations cited by the Complainants support

dismissal of the Complaint. The complainants in NBAA v. Santa Monica, for example,

sent numerous letters to the respondent offering to mediate the parties’ dispute before

filing suit. See FAA Docket No. 16-14-04, 2015 WL 13603433, at *10 (Dec. 4, 2015).

The complainants in Bombardier Aerospace Corp. v. Santa Monica similarly

communicated with the respondent via telephone and letter before filing suit, and further

certified and documented their efforts as required under § 16.21. See FAA Docket No.

16-03-11, 2004 WL 3198208, at *17–19 (Jan. 3, 2004). By contrast, the Complainants in

this case have made no effort to negotiate with the Town in good faith (let alone engage

in the extensive public processes over the past two years), nor have they certified




noncompliance.”); Bondio, LLC & Joseph Mirakhor v. Palm Beach Cnty. Dep’t of Airports,
FAA Docket No. 16-21-18, 2022 WL 193646, at *1 (Jan. 13, 2022) (recognizing that a
complainant “shall include a brief description of the party’s efforts to obtain informal
resolution” and that “[s]uch efforts to resolve informally should be relatively recent and be
demonstrated by pertinent documentation”); Thomas Vanduinen v. Alpena Cnty. Airport,
FAA Docket No. 16-21-05, 2021 WL 4727447, at *1 (Sept. 24, 2021) (“Mr. Duinen has
not adequately identified his efforts at informal resolution. He states he has complained
several times to the Airport District Office in Detroit ‘and in Washington for many years to
no avail.’ He also says he has tried to resolve the issue several times with the County
and they refuse to discuss. No details or documents are provided. These vague
statements, unsupported by documentation, do not satisfy the requirements of
[§ 16.21].”); Kunz v. Salt Lake City Dep’t of Airports, FAA Docket No. 16-19-11, 2019 WL
10272366, at *1 (Oct. 4, 2019) (“Complaints filed under Part 16 will not be considered
unless the complaint certifies that substantial and reasonable good faith efforts to resolve
the disputed matter informally prior to filing the complaint have been made, and that there
appears no reasonable prospect for timely resolution of the dispute. This certification
must include a brief description of the efforts to obtain informal resolution per 14 CFR
§ 16.21(c).”).
                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 163 of 221




May 9, 2022
Federal Aviation Administration
Page Fifteen

compliance with § 16.21 or provided the requisite documentation.                   Indeed, the

Complainants admit non-compliance. For this reason alone, dismissal is appropriate.

       Moreover, even if “futility” was an appropriate basis for Complainants to ignore

mandatory regulations, such a standard would not apply here. The Town has engaged

the public throughout the closure-and-opening process, to date having received over

1,500 formal comments.       And the Town thoroughly reviewed and considered each

comment, as demonstrated by changes to the proposed PPR rules and landing fees. For

example, the noise-based restriction was amended to presumptively not apply to piston-

driven fixed-wing aircraft (such as Cessna 150s, Cessna 172s, and Beech Barons);

certain activities are now authorized to occur within the discretion of the Airport Director,

such as touch-and-goes; and the landing-fee weight limits have been amended. This

non-exhaustive list is only meant to show that Complainants’ “futility” argument is

baseless and should be rejected (even if the FAA otherwise believes that futility is a valid

reason to allow Complainants to ignore mandatory regulations).

       For this reason alone, the Complaint should be dismissed.

                            The Complainants Allege No Harm

       The Complainants also fail to allege adequate harm for standing to bring their

Complaint, as they do not meet the requisite standard of being a party that is “directly and

substantially affected by any alleged noncompliance.” 14 C.F.R. § 16.23(a).

       The Complainants only offer conclusory assertions that they “are immediately,

directly and substantially affected” by the Town’s closing of HTO and opening of JPX—

                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
        Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 164 of 221




May 9, 2022
Federal Aviation Administration
Page Sixteen

without identifying any specific harm. (See Compl. at 5–6.) At best, the Complainants

only vaguely reference that this process will allow the Town to “impose operational

restrictions at [JPX] and divert funds from HTO accounts to municipal accounts.” Id. But

no actual revenue diversion has been alleged, nor is there reason to believe—and no

allegations have been made—that the Town’s trial PPR rules for the 2022 Season (part

of the Town’s SEQRA review process) will affect the Complainants at all. See Rules and

Regulations    for   E.   Hampton           Town        Airport       (effective   May   19,   2022),

https://ehamptonny.gov/DocumentCenter/View/12711/TOEH---Airport-Rules-and-

Regulations1-final. As explained supra, the Complainants will be permitted to operate

out of JPX, like the rest of the other aeronautical users of JPX being afforded permissions,

subject to reasonable restrictions.

       The Complainants’ inability to proffer any allegations that they will be directly and

substantially affected by the Town’s process means that they are unable to demonstrate

standing as required under 14 C.F.R. § 16.23. Accordingly, dismissal is appropriate.

     No Applicability or Violation of Exclusive-Rights and Revenue-Diversion Laws

       If the FAA does not dismiss the Complaint on the above grounds, and proceeds to

consider the Complaint on its merits, the FAA should grant summary judgment because

the Town’s opening and operation of JPX involves no violation of law. 7 The Complaint




7There is no dispute that the Town’s grant assurances expired in September 2021, as
explicitly reflected in the federal register notice. 87 Fed. Reg. 22617 (Apr. 15, 2022). The
Complaint is based wholly on alleged violations of statutory obligations.
                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 165 of 221




May 9, 2022
Federal Aviation Administration
Page Seventeen

alleges that the Town’s opening of JPX, a private-use airport, will violate statutory

obligations under 49 U.S.C. § 40103(e) and 49 U.S.C. § 47133(a). Complainants fail to

allege a viable cause of action as neither statute applies to JPX.

       There is a simple, dispositive reason why the Town’s operation of JPX will not

violate any statutory obligations: JPX will not be and has never been the recipient of

federal funds. Indeed, based on substantial efforts by the Town to work and coordinate

with various stakeholders, including the FAA, the private-use JPX will be legally distinct

from the public-use HTO. Indeed, the Town’s efforts to close HTO and activate JPX were

a result of the FAA’s guidance in the November 2020 Letter—which itself confirmed that

(i) closing HTO would extinguish the “Exclusive Rights” and “Revenue Use” obligations

and (ii) operating a private-use airport would allow the Town to rely on a prior permission

required framework. (Supervisor Decl. ¶ 24, Ex. 1.) In the following year and a half, the

FAA accepted that plan and offered “no objection” to it. (See, e.g., Compl. Ex. 13, at 1

(acknowledging plan for “closing of [HTO]” and “activating the private-use airport”); id. Ex.

17, at 1 (finding “no objection” to the plan for a “new, private-use airport”).) 8 Now, on the


8 The Complaint relies extensively on the FAA’s February 2, 2022, letter to the Town
(Compl. Ex. 13) regarding the January 25, 2022, meeting and the FAA’s list of actions
and issues triggered by the Town’s submission of Form 7480—Deactivation of an Airport
(Aeronautical Study Number (ASN) 2022-AEA-313-NRA), and Form 7480—Activation of
an Airport (ANS 2022-AEA-415-NRA). That letter, however, does not support the alleged
noncompliance by the Town. To the contrary, it demonstrates the coordination required
to open JPX. The FAA expressed concerns regarding the Town’s initial timeline. The
Town listened to those concerns by extending the timeline to May 2022. And true to its
word, the FAA facilitated the resolution of all outstanding issues raised in the February 2,
2022, letter within the extended timeframe.
                           Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                                t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
        Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 166 of 221




May 9, 2022
Federal Aviation Administration
Page Eighteen

eve of the Town’s deactivation of HTO and opening of JPX, the Complainants seek to

undo years of work by the Town by asking the FAA to walk back its November 2020

guidance as “in fact, erroneous.” (Compl. at 6.)

       The Complaint is based entirely on the errant premise that JPX is the “exact same

facility” or “airport” as the deactivated HTO, even though HTO will permanently close on

May 17, 2022.        To support their argument, the Complainants misquote and

misunderstand FAA Order 5190.6B, which itself explicitly says it is “not regulatory and is

not controlling with regard to airport sponsor conduct,” and that it is meant to “address[]

the application of [certain] assurances in the operation of public-use airports.” Order

5190.6B, p. 1-1 (emphases added). Indeed, by its own terms, Order 5190.6B does not

apply to JPX as a private-use airport. Id. But even if it did, Order 5190.6B does not

actually provide support for the Complainants’ request that the FAA backtrack on the

November 2020 Letter and subsequent actions that the Town took in reliance on that

letter and other interactions with the FAA when pursuing this multi-year process to

balance community needs with aviation stakeholder desires. 9



9 Other authorities cited by the Complainants likewise are not relevant to the issue at
hand, i.e., whether the operation of JPX under a PPR framework violates any exclusive-
rights or revenue-diversion obligations of HTO, a soon-to-be-closed and entirely distinct
airport. See, e.g., Use of Airports, 40 U.S. Op. Atty. Gen. 71 (June 4, 1941), available at
1941 WL 1882 (opining on whether an “exclusive right to use an airport for a particular
aeronautical activity” is an impermissible exclusive right, while noting that the purpose of
this provision is to prohibit monopolies and encourage competition); Exclusive Rights at
Airports, 30 Fed. Reg. 13361 (Oct. 27, 1965) (vaguely stating the purpose to establish
FAA policy “on the conduct of aeronautical activities at public airports on which Federal
funds, administered by the Agency, have been expended” (emphasis added)); Air
                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 167 of 221




May 9, 2022
Federal Aviation Administration
Page Nineteen

       First, as to exclusive-rights obligations, Order 5190.6B says that “[o]nce federal

funds have been expended at an airport, . . . the exclusive rights prohibition is applicable

to that airport . . . in perpetuity.” Order 5190.6B, p. 8-4 (emphases added). True, the

statutory obligations apply to HTO in perpetuity as “that airport” received federal funds.

But, as explained, HTO is permanently deactivating on May 17, 2022, and thus all

obligations, including statutory obligations, will have run their course at that time. JPX,

on the other hand, will not receive federal funds and thus the exclusive-rights prohibition

is not “applicable to that airport in perpetuity.” Id., p. 8-4 to 8-5. 10

       Second, as to revenue-diversion obligations, Order 5190.6B says that these

obligations only “[a]ppl[y] to airports subject” to “[a]ny federal agreement” and only “as

long as the facility is used as a public-use airport.” Order 5190.6B, p. 2-15. JPX is not

and will not be subject to any federal agreement that triggers these obligations, and the

facility will not be used as a public-use airport.                 Accordingly, the revenue-diversion




Transport Ass’n of Am., Inc. d/b/a Airlines for Am. v. Port of Portland, FAA Docket No.
16-16-04, 2017 WL 11548938, at *9 (Aug. 17, 2017) (initial, case-specific determination
that did not address extinguishing public-use obligations through airport closure); In the
Matter of Compliance with Fed. Obligations by the City Of Santa Monica, FAA Docket No.
16-02-08, 2008 WL 6895776, at *12 n.3 (May 27, 2008) (same); Dart v. City of Corona,
FAA Docket No. 16-99-20, 2000 WL 1092312, at 8 (June 26, 2000) (same).
10 Even if the exclusive-rights prohibition were applicable, the Complaint fails to show that

any improper exclusive-right violation has occurred. This is unsurprising given that all
operators are permitted to use the airport subject to reasonable and non-discriminatory
rules that apply equally to all operators.
                            Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                                 t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 168 of 221




May 9, 2022
Federal Aviation Administration
Page Twenty

prohibition, like the exclusive-rights prohibition, does not apply at all. Id. By the express

terms of Order 5190.6B, then, the Complainants’ allegations fall flat. 11

       All that is to say, the FAA’s guidance in the November 2020 Letter—on which the

Town has substantially relied—properly interpreted the law to find that HTO’s closure

would extinguish any exclusive-rights or revenue-diversion obligations. Since receiving

the November 2020 Letter, the Town has spent considerable resources and time in good

faith reliance on the FAA’s interpretation of its own statutes and regulations. Not once

has the FAA stated that the November 2020 Letter was incorrect or otherwise instructed

the Town that its substantial reliance on the November 2020 letter was misplaced. And

for good reason: the FAA was correct when it provided this guidance to the Town in

November 2020, and it was correct in the following 18 months when working alongside

the Town to execute on the closure-and-opening plan.

       Moreover, as reflected by the FAA’s own internal guidance, the FAA should

“maintain a balance between the needs of aviation and the requirements of residents in

neighboring areas.” Order 5190.6B, p. 1-4. The FAA properly struck that balance in

issuing its November 2020 guidance and suggesting that the Town deactivate HTO and

activate JPX as a private-use airport under a PPR framework. Were the FAA to backtrack

and find that the plan, in fact, cannot proceed, the Town will be forced to close HTO and




11 The Complaint does not actually allege that the Town is diverting funds of HTO or will
divert funds of JPX. That defect negates any basis for finding a violation or awarding the
relief sought.
                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 169 of 221




May 9, 2022
Federal Aviation Administration
Page Twenty-one

opt not to open a new airport in East Hampton, as the continued operation of a public-use

airport is incompatible with the community around it and not supported by upwards of

90% of community residents. These policy interests further support finding that the FAA’s

stated position in the November 2020 Letter was correct.

       For the above reasons, the statutory prohibitions on exclusive rights and revenue

diversion do not apply to JPX. Because there is no violation of law, the FAA can and

should dismiss the Complaint or grant the Town summary judgment on all counts.

                                             Conclusion

       At its core, the Complaint is a misguided attempt to supplant years of deliberation

by the Town and its citizens, all of which occurred in close coordination with the FAA.

What the Complaint cynically dismisses as mere “gamesmanship” involved, in fact,

significant expenditure of time and resources to safely and efficiently deactivate HTO and

activate JPX to ensure that the Town could balance local interests in imposing reasonable

restrictions on airport activities with national interests in maintaining a capable airport in

East Hampton—whether under a PPR framework or otherwise.                            For all the above

reasons, the FAA should dismiss the Complaint or grant the Town summary judgment on

all counts.




                           Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                                t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
        Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 170 of 221




May 9, 2022
Federal Aviation Administration
Page Twenty-two


Respectfully submitted,


______________________________
William O’Connor, Esq.
Cooley LLP
4401 Eastgate Mall
San Diego, CA 92121
(858) 550-6002
woconnor@cooley.com

cc:   Andrew Barr, Esq.
      Cooley LLP
      1144 15th Street, Suite 2300
      Denver, CO 80202
      (720) 566-4121
      abarr@cooley.com

      Robert Jacques, Esq.
      Cooley LLP
      1299 Pennsylvania Avenue, Suite 700
      Washington, DC 20004
      (202) 776-2063
      rjacques@cooley.com

      Jol A. Silversmith, Esq.
      Barbara M. Marrin, Esq.
      KMA Zuckert LLC
      888 17th Street NW, Suite 700
      Washington, DC 20006
      (202) 298-8660
      jsilversmith@kmazuckert.com
      bmarrin@kmazuckert.com




                          Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                               t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
        Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 171 of 221




May 9, 2022
Federal Aviation Administration
Page Twenty-three

                                   Certificate of Service

       I hereby certify that I have this day caused the foregoing document to be served
on the following persons at the following address by electronic mail:

                                  Jol A. Silversmith, Esq.
                                 Barbara M. Marrin, Esq.
                                    KMA Zuckert LLC
                             888 17th Street NW, Suite 700
                                  Washington, DC 20006
                                      (202) 298-8660
                             jsilversmith@kmazuckert.com
                               bmarrin@kmazuckert.com




      Erin Combs

Dated: May 9, 2022




                         Cooley LLP 4401 Eastgate Mall San Diego, CA 92121-1909
                              t: +1 858 550 6000 f: +1 858 550-6420 cooley.com
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 172 of 221




                          Exhibit 32
                   Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 173 of 221


Jol A. Silversmith

From:                             Jol A. Silversmith
Sent:                             Tuesday, September 27, 2022 4:52 PM
To:                               9-AEA-FOIA@faa.gov
Cc:                               dedra.goodman@faa.gov; linda.chatman@faa.gov
Subject:                          RE: FOIA Acknowledgement Letter - Silversmith


Dear Ms. Chatman:

Please allow me to supplement my Friday message.

I have confirmed that on May 17, 2022, Marie Kennington-Gardiner, the Regional Administrator for the Eastern Region,
sent a letter to outside counsel for the Town of East Hampton, New York which stated that “Air Traffic Control (N90) has
been trained and the Letter of Agreement (LOA) between the Town and the FAA has been developed and signed for the
Airport (JPX).”

To the extent FAA has represented to me that there are no documents responsive to my May 5, 2022 and June 14, 2022
FOIA requests (which specifically sought “letters of agreement with TRACON (N90)” among other items), you effectively
have accused Ms. Kennington-Gardiner – whose statement has been relied upon by various parties in court – of lying. I
presume that is not actually the case. It seems more likely that the requested documents do exist, and that the FAA has
conducted an entirely inadequate search for them. Please immediately address this issue.

Jol Silversmith

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: Jol A. Silversmith
        Sent: Friday, September 23, 2022 4:57 PM
        To: 9-AEA-FOIA@faa.gov
        Cc: dedra.goodman@faa.gov; linda.chatman@faa.gov
        Subject: RE: FOIA Acknowledgement Letter - Silversmith

        Ms. Chatman:

        This is to confirm: To the extent that the Town of East Hampton, New York previously represented that
        “reimbursable agreements with the FAA to pay for services that were previously federally funded” and “letters of
        agreement with TRACON (N90)” (see the Town’s May 9, 2022 letter in Doupe Services, LLC d/b/a Curtis Air Taxi
        and Jobs Lane Aviation, LLC v. Town of East Hampton, New York, FAA Docket No. 16-22-05, available at
        https://www.regulations.gov/document/FAA-2022-0542-0004) and to the extent that I previously requested copies
        of those documents via the May 5, 2022 FOIA request assigned no. 2022-6935 and the supplemental June 14,
        2022 request that is the subject of your message, the FAA’s response is that those documents do not actually
        exist, and that as a consequence the Town’s quoted representations in the Part 16 proceeding were
        false?
                                                            1
             Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 174 of 221

Given the potential significance of the FAA’s response to my June 14, 2022 request, I would appreciate your
prompt response.

Jol Silversmith




From: 9-AEA-FOIA (FAA) 9-AEA-FOIA@faa.gov
Sent: Thursday, September 22, 2022 9:09 AM
To: Jol A. Silversmith jsilversmith@kmazuckert.com
Cc: Goodman, Dedra (FAA) Dedra.Goodman@faa.gov
Subject: FW: FOIA Acknowledgement Letter - Silversmith

Mr. Silversmith,

This is a partial response to your email below regarding several (4) FOIA requests you submitted to the
FAA. This email pertains to your FOIA dated June 14, 2022, only. To avoid any confusion, the other
three FOIAs will be addressed in another email.

Your FOIA request dated May 5, 2022 (#2022-06935)-attached), is the same as your FOIA dated June
14, 2022 (above). The FAA’s response (dated June 6, 2022) to your May 5, 2022 FOIA, states that
other offices may have additional documents. However, there are no other FAA offices that have any
responsive documents.

Therefore, the FOIA response dated June 6, 2022 is the only and final response to your FOIA request.

Thanks,
Linda

Linda Chatman
National FOIA Coordinator, AFN-400
T – 404-305-5906

Extraordinary people produce extraordinary results – Ali Bahrami




From: Jol A. Silversmith <jsilversmith@kmazuckert.com>
Sent: Friday, September 02, 2022 3:41 PM
To: 9-AEA-FOIA (FAA) <9-AEA-FOIA@faa.gov>
Cc: Goodman, Dedra (FAA) <Dedra.Goodman@faa.gov>
Subject: RE: FOIA Acknowledgement Letter - Silversmith

Dear Sirs:

Per my prior correspondence, multiple FOIA requests that I have submitted to FAA have not been acknowledged,
much less fulfilled. In particular:
                                                   2
          Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 175 of 221

   A June 14 request, generally for agreements between the Town of East Hampton, New York and FAA.
   A June 17 request, generally for FAA approvals of special procedures for East Hampton Town Airport.
   A June 22 request, generally for FAA-Town communications regarding the newly proposed closure of the
    airport.
   A June 24 request, generally regarding additional specific documents that FAA previously requested from the
    Town.

As noted in my August 1, 2022 message, the June 17 request described above should not be conflated with a
separate request filed that same day (and assigned no. 2022-8400) regarding Montauk Airport. I also note that
since my last correspondence, FAA did acknowledge a request submitted on June 29 (no. 2022-9703).

I would appreciate an update.

Jol Silversmith




                                                   3
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 176 of 221




                          Exhibit 33
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 177 of 221




                                Office of the Regional Administrator   1 Aviation Plaza
                                Eastern Region                         Jamaica, NY 11434




May 17, 2022


Mr. Andrew Barr
Cooley LLP
1144 15th Street, Suite 2300
Denver, CO 80202-2686

Dear Mr. Barr:

The Federal Aviation Administration (FAA) has received your email sent to David Fish, Director
of the Airports Division in the Eastern Region, asking how the Town of East Hampton could
potentially withdraw or delay the deactivation of East Hampton Airport in accordance with a
Temporary Restraining Order (TRO) issued by the New York State Supreme Court. In
responding to your request, we have reviewed the court’s order, which enjoins the Town of East
Hampton from “deactivating or closing HTO Airport on May 17, 2022, or any date thereafter
pending a determination on Petitioners’ motion for a preliminary injunction.” You have asked
how East Hampton could potentially withdraw or delay the deactivation of East Hampton
Airport in accordance with the state court TRO.

In response to your question, the paramount concern of the FAA is assuring aviation safety,
including during the process of the activation or deactivation of an airport pursuant to 14 CFR
part 157. The deactivation of the East Hampton airport is a process that cannot be quickly, and
more importantly safely stopped, or undone, by the FAA, as certain steps have already been
taken, including changing the airport identifier and creating new special instrument procedures
that pilots have been advised to follow. Our February 2, 2022 letter to the Town indicated that
“the deactivation of the airport has genuine consequences. Once an airport is deactivated, it
cannot be reopened with the same facilities and procedures simply by reactivating it.…[T]he
concrete actions that are taken upon deactivation; actions that, once taken, cannot simply be
reversed.”…. “: The actions that have already been taken will result in the following
circumstances:

   1. The Location Identifier of East Hampton Airport (HTO) will cease to exist in our system
      at 11:59 PM on May 18, 2022 and will be replaced with the Airport Identifier of JPX. We
      can’t simply undo this. Any reference to HTO, the old identifier, (Coded Departure
      Routes, instrument flight procedures, VFR charts etc.) will cease to exist. This means
      pilots cannot use HTO as an origin or destination on a flight plan or file a flight plan to
      HTO. This presents aviation safety risks in the congested New York airspace.
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 178 of 221




   2. The airspace designated to HTO will not be on the new aeronautical charts scheduled for
      publication on May 19, 2022.
   3. The current Instrument Approach Procedures (IAP) will decommission on May 18,
      2022. The final deadline that would have permitted pulling this back was missed. These
      procedures were rebuilt as special instrument flight procedures using a third party
      provider, Flight Tech Engineering. The special instrument flight procedures have been
      flight validated and are set to publish as specials on May 19, 2022.
   4. Air Traffic Control (N90) has been trained and the Letter of Agreement (LOA) between
      the Town and the FAA has been developed and signed for the Airport (JPX). Any
      change to the strategy would require retraining the controllers at N90. Even if the current
      IAP could be revived, Controllers must be re-trained in the former procedures. This
      training in the new procedures and subsequent retraining in the old procedures is likely to
      cause confusion for the controllers which will create an unacceptable safety risk.
   5. At this juncture, given the fact that the FAA cannot safely forestall several aspects of the
      deactivation process, including the location identifier and instrument approaches, it is
      more prudent to continue operating the airport under the JPX identifier after May 19,
      2022. This action would provide for airspace definition in accordance with the Part 71
      process [14 CFR part 71]. With a definitive Airport and Location Identifier, all interested
      parties can file flight plans to the airport, and all coded departure routes that reflect JPX
      will be applicable for use immediately on May 19, 2022. The LOA that has already been
      signed will remain valid and the controllers will not need to be retrained.

       As a result of the actions already taken and processes in place, the FAA has significant
       concern that the Court and the parties have introduced a major safety issue into this
       complex airspace system. FAA is working on the processes to enable the Town to
       operate JPX and implement the substance of the court’s order while maintaining safety in
       the National Airspace. We trust that you will communicate these concerns to the Court
       and keep them in mind going forward.

Sincerely,



Marie Kennington-Gardiner
Regional Administrator
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 179 of 221




                          Exhibit 34
6/17/22, 3:18 PM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 180 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, NW
     Suite 700
     Washington, DC 20006


     June 17, 2022

     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On April 26, 2022, the Town of East Hampton, New York issued a press
     release which stated that FAA on April 22 had “formally approved the
     Town’s application to provide “special procedures,” making instrument
     landings possible at the new, private-use airport.” So far as can be
     determined, this approval has not been made publicly available by FAA –
     nor have the application or any associated materials. This is a request for
     that approval, as well as the application filed by the Town, and any
     associated correspondence and documents, including but not limited to
     items drafted by and sent to or from the Town’s vendor, Flight Tech
     Engineering, as well as correspondence within the FAA, including but not
     limited to how/if the application can and should be expedited.

     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.


     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,


     Mr. Jol A Silversmith



https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/17/22, 3:18 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 181 of 221
                                                                                                 has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 182 of 221




                          Exhibit 35
6/17/22, 3:19 PM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 183 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     June 17, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     Eastern Service Center Air Traffic Organization FOIA Coordinator, AJO-
     2E5
     P.O. Box 20636
     Atlanta, GA 30320


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On April 26, 2022, the Town of East Hampton, New York issued a press
     release which stated that FAA on April 22 had “formally approved the
     Town’s application to provide “special procedures,” making instrument
     landings possible at the new, private-use airport.” So far as can be
     determined, this approval has not been made publicly available by FAA –
     nor have the application or any associated materials. This is a request for
     that approval, as well as the application filed by the Town, and any
     associated correspondence and documents, including but not limited to
     items drafted by and sent to or from the Town’s vendor, Flight Tech
     Engineering, as well as correspondence within the FAA, including but not
     limited to how/if the application can and should be expedited.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.

     Thank you for your consideration of this request.

     Sincerely,


https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/17/22, 3:19 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 184 of 221
                                                                                                 has been submitted

     Mr. Jol A Silversmith
     Member


     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 185 of 221




                          Exhibit 36
6/17/22, 3:16 PM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 186 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, NW
     Suite 700
     Washington, DC 20006


     June 17, 2022

     Federal Aviation Administration
     Federal Aviation Administration – Eastern Region
     National Freedom of Information Act Staff, AFN-400E


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On April 26, 2022, the Town of East Hampton, New York issued a press
     release which stated that FAA on April 22 had “formally approved the
     Town’s application to provide “special procedures,” making instrument
     landings possible at the new, private-use airport.” So far as can be
     determined, this approval has not been made publicly available by FAA –
     nor have the application or any associated materials. This is a request for
     that approval, as well as the application filed by the Town, and any
     associated correspondence and documents, including but not limited to
     items drafted by and sent to or from the Town’s vendor, Flight Tech
     Engineering, as well as correspondence within the FAA, including but not
     limited to how/if the application can and should be expedited.

     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.


     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,


     Mr. Jol A Silversmith



https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/17/22, 3:16 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 187 of 221
                                                                                                 has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 188 of 221




                          Exhibit 37
                   Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 189 of 221




From:                 Jol A. Silversmith
Sent:                 Monday, August 1, 2022 4:58 PM
To:                   9-AEA-FOIA@faa.gov
Cc:                   dedra.goodman@faa.gov
Subject:              RE: FOIA Acknowledgement Letter - Silversmith
Attachments:          FOIA Request - HQ - 06 17 22.pdf


Dear Sirs:

Thank you for your response.

Although a FOIA request I submitted on June 17, 2022 (regarding Montauk Airport) has been assigned no. 2022-8400, my
July 29, 2022 inquiry concerned a different FOIA request that was submitted on June 17, 2022 – i.e., as explicitly
indicated in my inquiry, a request concerning FAA’s approval of special procedures for East Hampton Town Airport. A
copy of that request is attached.

Given that it appears this request has been outright overlooked (and like the others identified in my prior email, all are
overdue), I believe it would be a sign of good faith for your office to expedite its processing?

Jol

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com




        From: 9‐AEA‐FOIA (FAA) 9‐AEA‐FOIA@faa.gov
        Sent: Monday, August 1, 2022 9:46 AM
        To: Jol A. Silversmith jsilversmith@kmazuckert.com
        Cc: Goodman, Dedra (FAA) Dedra.Goodman@faa.gov
        Subject: FW: FOIA Acknowledgement Letter ‐ Silversmith

        Mr. Silversmith,

        We received you email seeking an update to several FOIA requests you sent our office; they were dated
        June 14, June 17, June 22, June 24, and June 29 of 2022. Below is the email we sent you with the
        FOIA acknowledgement letter dated July 5, 2022, for your FOIA request dated June 17, 2022. This
        request was assigned to our Headquarters Airports office, ARP-001. They should be contacting you
        regarding your response.

                                                               1
         Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 190 of 221

More information to come on your other FOIA requests dated June 14, June 22, June 24, and June 29,
2022.

Thanks,
AEA FOIA Office




From: 9‐AEA‐FOIA (FAA) <9‐AEA‐FOIA@faa.gov>
Sent: Monday, June 27, 2022 7:57 AM
To: jsilversmith@kmazuckert.com
Subject: FOIA Acknowledgement Letter ‐ Silversmith

Mr. Silversmith,

Please see the attached FOIA acknowledgement letter.

Thanks,
FOIA Office.




From: jsilversmith@kmazuckert.com <jsilversmith@kmazuckert.com>
Sent: Friday, June 17, 2022 2:02 PM
To: 7‐AWA‐ARC‐FOIA (FAA) <7‐awa‐arc‐foia@faa.gov>
Subject: AEA: Request under the Freedom of Information Act, 5 U.S.C. § 552

Jol A Silversmith
KMA Zuckert LLC
888 17th Street, NW
Suite 700
Washington, DC 20006

June 17, 2022

Federal Aviation Administration
Federal Aviation Administration – Eastern Region
National Freedom of Information Act Staff, AFN-400E

FOIA Coordinator:

                                                  2
             Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 191 of 221

This is a request under the Freedom of Information Act. I request that a copy of the following documents (or
documents containing the following information) be provided to me:

On May 6, 2019 and April 2, 2021, I submitted FOIA requests (no. 2019‐006832 and no. 2021‐002773) for FAA
correspondence with or regarding Montauk Airport (MTP) and restrictions applicable to the sale of that airport
(e.g., the terms on which the private owners of the airport could profit from the sale, consistent with the
prohibition on revenue diversion which is applicable because the airport has been a recipient of AIP grants). As
an initial matter, this is a request for any documents regarding the potential sale of MTP and the duration of its
federal obligations, supplementing the prior requests, for which the most recent response was dated July 30,
2021. In addition, this is a request for any documents not previously provided which discuss the means through
which the airport could be closed and/or restrictions adopted by the airport, including if statutes such as ANCA
and 49 U.S.C. 40103(e) would be applicable if the airport were to close and subsequently reopen, similar to the
guidance provided by David Fish of the Eastern Region to the Town of East Hampton, New York in a letter dated
November 6, 2020.

In order to determine my status to assess fees, you should know that my fee category is:

affiliated with a private company and seeking records for the company�'s business.

The maximum dollar amount I am willing to pay for this request is $100. Please notify me if the fees will exceed
$25.00 or the maximum dollar amount I entered.

Thank you for your consideration of this request.

Sincerely,

Mr. Jol A Silversmith

Phone: 2029737918
jsilversmith@kmazuckert.com



Form URL: https://www.faa.gov/foia/email_foia/review/
User agent: Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML,
like Gecko) Chrome/102.0.0.0 Safari/537.36




                                                    3
6/17/22, 3:18 PM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 192 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, NW
     Suite 700
     Washington, DC 20006

     June 17, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On April 26, 2022, the Town of East Hampton, New York issued a press
     release which stated that FAA on April 22 had “formally approved the
     Town’s application to provide “special procedures,” making instrument
     landings possible at the new, private-use airport.” So far as can be
     determined, this approval has not been made publicly available by FAA –
     nor have the application or any associated materials. This is a request for
     that approval, as well as the application filed by the Town, and any
     associated correspondence and documents, including but not limited to
     items drafted by and sent to or from the Town’s vendor, Flight Tech
     Engineering, as well as correspondence within the FAA, including but not
     limited to how/if the application can and should be expedited.


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.

     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.


     Thank you for your consideration of this request.

     Sincerely,

     Mr. Jol A Silversmith



https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/17/22, 3:18 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 193 of 221
                                                                                                 has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 194 of 221




                          Exhibit 38
                   Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 195 of 221


Jol A. Silversmith

From:                 Goodman, Dedra (FAA) <Dedra.Goodman@faa.gov>
Sent:                 Friday, October 7, 2022 6:02 PM
To:                   Jol A. Silversmith
Subject:              RE: Unacknowledged FOIA Requests



Good evening, Mr. Silversmith.

Thank you for attachments associated to the draft complaint. I have taken steps to issue acknowledgement letters,
which you should have received earlier today on the following requests:

FAA-2023-00236:          Exhibits 19 through 22 – June 17, 2022
FAA-2023-00231:          Exhibit 22 – June 22, 2022
FAA-2023-00235:          Exhibit 22 – June 24, 2022
FAA-2023-00233:          Exhibit 29 – June 24, 2022

Sincerely,
Dedra Goodman
FAA FOIA Officer
Manager, FAA FOIA Program Office, AFN-400
FAA Office of Finance & Management




From: Jol A. Silversmith <jsilversmith@kmazuckert.com>
Sent: Friday, September 30, 2022 4:34 PM
To: Goodman, Dedra (FAA) <Dedra.Goodman@faa.gov>
Subject: RE: Unacknowledged FOIA Requests

Dear Ms. Goodman:

I have attached the exhibits that correspond to the draft complaint. Please note that you were previously copied on some
of my correspondence.

Although not included in the draft, please take notice of the issues raised in my emails of September 23 and September
27 – i.e., FAA’s assertion that certain documents do not exist..

Jol Silversmith

Jol A. Silversmith
Member
KMA Zuckert LLC
888 17th Street, NW, Suite 700
Washington, DC 20006
+1 (202) 973-7918 Direct
jsilversmith@kmazuckert.com



                                                            1
          Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 196 of 221




From: Goodman, Dedra (FAA) Dedra.Goodman@faa.gov
Sent: Thursday, September 29, 2022 5:14 PM
To: Jol A. Silversmith jsilversmith@kmazuckert.com
Subject: RE: Unacknowledged FOIA Requests

Good afternoon, Mr. Silversmith.

As FAA’s FOIA Officer and FOIA Program Manager, I am looking into the issues raised in your draft
complaint. I am writing to request a copy of the exhibits you reference in that document. You have filed a
number of FOIA requests with the FAA seeking records pertaining to the topics described in your
complaint. I am assuming that most of the exhibits referenced are the FOIA requests you believe require
some action from FAA. A copy of these requests would be helpful to me in ensuring I am looking into all
of the requests relevant to your concerns.

You may contact me on all future communications regarding this matter.

Sincerely,
Dedra Goodman
FOIA Officer
Manager, FAA FOIA Program Office, AFN-400
FAA Office of Finance & Management




From: Jol A. Silversmith jsilversmith@kmazuckert.com
Sent: Friday, September 23, 2022 4:57 PM
To: Nichols, Marc (FAA) Marc.Nichols@faa.gov
Cc: shannetta.griffin@faa.gov; Goodman, Dedra (FAA) Dedra.Goodman@faa.gov
Subject: Unacknowledged FOIA Requests

Dear Mr. Nichols:

As you may be aware, disputes regarding efforts to restrict operations at the airport in East Hampton, New York
are pending both before federal and state courts as well as the FAA. In connection with those proceedings, in
May and June 2022 I submitted certain FOIA requests to the FAA, primarily but not exclusively seeking
documents under the jurisdiction of the Associate Administrator for Airports. The agency has responded to some
of them; and some others have been acknowledged although they have not yet been fulfilled.

However, for certain requests, the agency has not even provided an acknowledgement, even though the statutory
deadline for a complete response long since has elapsed and multiple requests for status updates have been sent

                                                   2
                  Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 197 of 221
        to the FAA. Additionally, in one case, FAA did request clarification to confirm that it was not duplicative; that
        explanation was provided, but FAA since also has failed to act on that request.

        Given that the requests relate to issues of significant interest to both the public and the agency, we hoped that
        FAA might actually expedite these requests, not disregard them. We ask your assistance in setting an immediate
        schedule for the agency to respond to the four requests summarized in the attached draft complaint; otherwise,
        we will be compelled to finalize and file the pleading in the U.S. District Court for the District of Columbia.

        We would appreciate a response from the agency, establishing the requested timetable, no later than October 7,
        2022. Of course, if there are any matters we might clarify further, we would welcome outreach from your office, or
        from the FOIA Liaison.

        Best regards.

        Jol A. Silversmith




IMPORTANT NOTICE: This electronic mail message and any attached files contain information intended for the exclusive
use of the individual or entity to whom it is addressed and may contain information that is proprietary, privileged,
confidential and/or exempt from disclosure under applicable law. In no event shall inadvertent transmission constitute a
waiver of confidentiality or privilege. If you are not the intended recipient, you are hereby notified that any viewing,
copying, direct or indirect disclosure or distribution of this information is strictly prohibited and may be subject to legal
restriction or sanction. Please notify the sender or postmaster@kmazuckert.com by electronic mail or telephone
(+1.312.345.3000) of any unintended recipients and kindly delete the original message without making any copies.
Thank you.




                                                              3
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 198 of 221




                          Exhibit 39
                Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 199 of 221


Jol A. Silversmith

From:              7-AWA-ARC-FOIA@faa.gov
Sent:              Friday, October 7, 2022 5:23 PM
To:                Jol A. Silversmith
Subject:           Acknowledgement of FAA FOIA Request FAA-2023-00236
Attachments:       AckLtr_2023-00236 (Silvermsith).pdf



October 7, 2022
Re: Freedom of Information Act (FOIA) Request FAA-2023-00236

Dear Mr. Silversmith:

Please find attached a letter acknowledging the FAA's receipt of your FOIA request dated June 17, 2022,

concerning the following: "[o]n April 26, 2022, the Town of East Hampton, New York issued a press release

which stated that FAA on April 22 had “formally approved the Town’s application to provide “special
procedures,”

making instrument landings possible at the new, private-use airport.” So far as can be determined, this
approval has

not been made publicly available by FAA – nor have the application or any associated materials. This is a
request for

that approval, as well as the application filed by the Town, and any associated correspondence and documents,
including

but not limited to items drafted by and sent to or from the Town’s vendor, Flight Tech Engineering, as well as
correspondence

within the FAA, including but not limited to how/if the application can and should be expedited."

Sincerely,

Dedra Goodman

FAA FOIA Officer




                                                       1
     Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 200 of 221




                           01234567589 8 87 9 6      2    3  
                                                           876 
!"#$%&'()*+**
,$-./0-1&'230#4
56.78"9&'#::;
<<<=(#4/#'&&#>?@?A(++
@B240CD#$C)E;*+++F
G&HI'&&J$3$KLCK$'3B#0$C."#MI!L.NG&O8&2#I..P*+*QP++*QF
E&B'6'?/0-1&'230#4H
R402-&##&'B"9C$S-&JD&2'&"&0T#$KU$8'I!L.'&O8&2#JB#&J,8C&=()*+**?V$8''&O8&2#
2#B#&J)WXYZ[\]^_`abcadaacefghYi[Yjklmenlo]eY[cpgiqY^r_mmsgtl]^gmm^gg̀lmg
if_ufmelegteflev\\Y[\]^_`aafltwjY^ol`x̀l]]^YygtefghYi[zml]]`_ule_Y[eY]^Yy_tg
wm]gu_l`]^Yugts^gmc{olr_[|_[me^sog[el̀[t_[|m]Ymm_}g̀leefg[gic]^_yleg~smgl_^]Y^e{
Yjl^lmul[}gtgeg^o_[gtcef_ml]]^Yyl`flm[Ye}gg[oltg]s}`_ux̀lyl_l̀}g̀}xv\\[Y^
flygefgl]]`_ule_Y[Y^l[xlmmYu_legtoleg^_lm̀?W/T&"0K0"B--U)U$8'&O8&2#&JB"$TU$K#4&
Wl]]^Yylc̀lmig``lmefgl]]`_ule_Y[j_g̀t}xefghYi[cl[tl[xlmmYu_legtuY^^gm]Y[tg[ug
l[ttYusog[emc_[us̀t_[|}se[Ye`_o_egteY_egomt^ljegt}xl[tmg[eeYY^j^YoefghYi[zm
yg[tY^cv`_|fehgufk[|_[gg^_[|clmig``lmuY^^gm]Y[tg[ugi_ef_[efgv\\c_[us̀t_[|}se[Ye
`_o_egteYfYi_jefgl]]`_ule_Y[ul[l[tmfYst̀}gg]gt_egt?W
V$8''&O8&2#4B2%&&CB220DC&JK$'B"#0$C#$#4&$KK0"&M2N-02#&J%&-$SH
I&J&'B-.10B#0$C.J30C02#'B#0$C             ;$C#B"#H-&CBG0"4B'J2$C
.0'R'BKK0"!'DBC0B#0$C                            &-&CB?'0"4B'J2$CKBB?D$1
<++LCJ&T&CJ&C"&.1&C8&)/@
@B240CD#$C)E;*+=
/4$8-JU$8S024#$0CO80'&B2#$#4&2#B#82$KU$8''&O8&2#)T-&B2&"$C#B"##4&B220DC&JI!L.
"$$'J0CB#$'M2N?-&B2&'&K&'#$#4&B%$1&'&K&'&C"&JC83%&'$CB--K8#8'&"$''&2T$CJ&C"&
'&DB'J0CD#402'&O8&2#?
/0C"&'&-U)

E&J'B$$J3BC
I..I!L.!KK0"&'
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 201 of 221




                          Exhibit 40
6/22/22, 4:51 PM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 202 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006


     June 22, 2022


     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400


     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:

     In an oral presentation to the Board of the Town of East Hampton, New
     York on June 7, 2022, William O’Connor, an attorney with the firm of
     Cooley LLP, stated that: “We have been asked to begin the process of
     understanding and completing the steps to permanently close JPX as
     soon as legally possible. The town has conveyed this message to the
     FAA.” This is a request for all documents dated in or around that date, or
     subsequently, in which O’Connor, Cooley, or the Town communicated
     with FAA regarding plans to close East Hampton Town Airport (JPX),
     a/k/a East Hampton Airport (HTO).


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.


     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.

     Thank you for your consideration of this request.


     Sincerely,

     Jol A Silversmith


     Phone: 2029737918
     jsilversmith@kmazuckert.com


https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/22/22, 4:51 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 203 of 221
                                                                                                 has been submitted

     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 204 of 221




                          Exhibit 41
6/22/22, 4:52 PM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 205 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006

     June 22, 2022


     Federal Aviation Administration
     Federal Aviation Administration – Eastern Region
     National Freedom of Information Act Staff, AFN-400E

     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:

     In an oral presentation to the Board of the Town of East Hampton, New
     York on June 7, 2022, William O’Connor, an attorney with the firm of
     Cooley LLP, stated that: “We have been asked to begin the process of
     understanding and completing the steps to permanently close JPX as
     soon as legally possible. The town has conveyed this message to the
     FAA.” This is a request for all documents dated in or around that date, or
     subsequently, in which O’Connor, Cooley, or the Town communicated
     with FAA regarding plans to close East Hampton Town Airport (JPX),
     a/k/a East Hampton Airport (HTO).


     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.


     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.

     Thank you for your consideration of this request.


     Sincerely,

     Jol A Silversmith

     Phone: 2029737918
     jsilversmith@kmazuckert.com


https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/22/22, 4:52 PM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 206 of 221
                                                                                                 has been submitted

     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 207 of 221




                          Exhibit 42
                Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 208 of 221


Jol A. Silversmith

From:              7-AWA-ARC-FOIA@faa.gov
Sent:              Friday, October 7, 2022 5:10 PM
To:                Jol A. Silversmith
Subject:           Acknowledgement of FAA FOIA Request FAA-2023-00231
Attachments:       AckLtr_2023-00231 (Silvermsith).pdf



October 7, 2022
Re: Freedom of Information Act (FOIA) Request FAA-2023-00231

Dear Mr. Silversmith:

Please find attached a letter acknowledging the FAA's receipt of your FOIA request dated June 22, 2022,
pertaining to

"an oral presentation to the Board of the Town of East Hampton, New York on June 7, 2022" by "William O'
Connor," for

"all documents dated in or around that date, or subsequently, in which O’Connor, Cooley, or the Town
communicated

with FAA regarding plans to close East Hampton Town Airport (JPX), a/k/a East Hampton Airport (HTO)."

Sincerely,

Dedra Goodman

FAA FOIA Officer




                                                      1
     Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 209 of 221




                           01234567589 8 87 9 6      2    3  
                                                           876 
!"#$%&'()*+**
,$-./0-1&'230#4
56.78"9&'#::;
<<<=(#4/#'&&#>?@?A(++
@B240CD#$C)E;*+++F
G&HI'&&J$3$KLCK$'3B#0$C."#MI!L.NG&O8&2#I..P*+*QP++*Q=
E&B'6'?/0-1&'230#4H
R402-&##&'B"9C$S-&JD&2'&"&0T#$KU$8'I!L.'&O8&2#JB#&J,8C&**)*+**)"$C"&'C0CDVWXYZW[
\Z]^]X_W_ỲX_Y_a]bYWZcYd_a]eYfXYdgW^_hWi\_YXjk]flYZmYXnoX]pjqrqqjsÿB#S40"4
Vu`[[ẀivwxYXXYZjWXW__YZX]yf`_a_a]d̀ZiYdxYY[]yzz{j^_W_]c_aW_|}u]aW~]]]XW^m]c_Y
]X̀_a]\ZY]^^YdoXc]Z^_WXcX̀WXcYi\[]_X̀_a]^_]\^_Y\]ZiWX]X_[y[Y^]n{W^^YYXW^
[]W[[y\Y^^`[]ea]_YfXaW^YX~]y]c_a`^i]^^W]_Y_a] $82T&"0K0"B--U'&O8&2#&J)VW
Z]o]^_dYZW[[cYoi]X_^cW_]cX̀YZWZYoXc_aW_cW_]jYZ^o^]o]X_[yjX̀fa`avwxYXXYZjxYY[]yj
YZ_a]eYfXYiioX`W_]cf`_a Z]WZcX̀\[WX^_Y[Y^]gW^_hWi\_YXeYfX Z̀\YZ_n{j
WmWgW^_hWi\_YX Z̀\YZ_hevV
$8''&O8&2#4B2%&&CB220DC&JK$'B"#0$C#$#4&$KK0"&M2N-02#&J%&-$SH
I&J&'B-.10B#0$C.J30C02#'B#0$C              ;$C#B"#H.CD&-0O8&&''U
!KK0"&$K.0'T$'#2M.GP=N                            BCD&-0O8&?%&''UKBB?D$1
<++LCJ&T&CJ&C"&.1&C8&)/@
@B240CD#$C)E;*+=
I&J&'B-.10B#0$C.J30C02#'B#0$C              ;$C#B"#H.-0"0BB8D4C
!KK0"&$K.0'T$'#2PB2#&'CG&D0$CM..PF++N            .-0"0B?B8D4CKBB?D$1
>&S$'9)>
                                           ;$C#B"#HB#'0"96BDC$##B
                                                   B#'0"9?6BDC$##BKBB?D$1
/4$8-JU$8S024#$0CO80'&B2#$#4&2#B#82$KU$8''&O8&2#)T-&B2&"$C#B"##4&B220DC&JI!L.
"$$'J0CB#$'M2N?-&B2&'&K&'#$#4&B%$1&'&K&'&C"&JC83%&'$CB--K8#8'&"$''&2T$CJ&C"&'&DB'J0CD
#402'&O8&2#?
/0C"&'&-U)

E&J'B$$J3BC
I..I!L.!KK0"&'
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 210 of 221




                          Exhibit 43
6/24/22, 9:14 AM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 211 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006


     June 24, 2022

     Federal Aviation Administration
     Federal Aviation Administration
     National Freedom of Information Act Staff, AFN-400

     FOIA Coordinator:


     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:

     On March 18, 2022, FAA issued a notice that purported to be a
     conditional no objection to the deactivation of East Hampton Airport
     (HTO) by the Town of East Hampton, New York (no. 2022-AEA-313-
     NRA). The notice stated that: “Coordination will be required with the
     airport operator and the FAA National Flight Data Center (NFDC) to
     update the FAA Chart Supplement with the airport decommissioning
     data. The airport needs to coordinate with the NFDC to remove these
     services from Aeronautical Information Services.” Please provide
     correspondence between the Town and the National Flight Data Center
     that was triggered by the notice, and any related correspondence or
     other documents.

     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.


     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.

     Thank you for your consideration of this request.


     Sincerely,


     Jol A Silversmith



https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/2
6/24/22, 9:14 AM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 212 of 221
                                                                                                 has been submitted

     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                2/2
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 213 of 221




                          Exhibit 44
6/24/22, 9:16 AM                                   Case 1:22-cv-03076 Document   1-1– Your
                                                                           FOIA Form   Filed   10/11/22
                                                                                           request            Page 214 of 221
                                                                                                   has been submitted

         An official website of the United States government Here's how you know 

        United States Department of Transportation




     FOIA Form
     Your request has been submitted

                                                                                        ×
              Your FOIA request has been submitted. Save or print this page for your
              records.



     Jol A Silversmith
     KMA Zuckert LLC
     888 17th Street, N.W.
     Suite 700
     Washington, DC 20006


     June 24, 2022

     Federal Aviation Administration
     Federal Aviation Administration – Eastern Region
     National Freedom of Information Act Staff, AFN-400E


     FOIA Coordinator:

     This is a request under the Freedom of Information Act. I request that a
     copy of the following documents (or documents containing the following
     information) be provided to me:


     On March 18, 2022, FAA issued a notice that purported to be a
     conditional no objection to the deactivation of East Hampton Airport
     (HTO) by the Town of East Hampton, New York (no. 2022-AEA-313-
     NRA). The notice stated that: “Any subsequent action to convey
     equipment for reactivation would be done by APM-413 Personal Property
     Lifecycle Section and with the local SSC Management (Long Island SSC,
     Kimberlee Valdes, 631 619-9050) to transfer ownership of the FAA REIL
     to the Town of East Hampton, Aviation Property Management.” The
     notice also stated that: “Coordination will be required with the airport
     operator and the FAA National Flight Data Center (NFDC) to update the
     FAA Chart Supplement with the airport decommissioning data. The
     airport needs to coordinate with the NFDC to remove these services from
     Aeronautical Information Services.” The notice also stated that: “The
     licensee, (Town of East Hampton) is required to modify their Airport
     identifier in their current FCC license's WQPY 735 121.9 MHz Ground,
     125.225 MHz Local Tower, and WQWJ 751 118.075M AWOS. No
     changes to technical parameters or updates are required at this time.
     Modifications should be completed as part of any activation process. In
     addition, the applicant (Town of East Hampton) should submit an
     application to the FAA for coordination through the WebFCR process and
     their modifications should be completed in the FCC Universal Licensing
     System (ULS).” The notice also stated that: You will need to acknowledge
     and return an email indicating you want to proceed with the De-Activation
     on May 17th, 2022 to Diogenes.Ramos@faa.gov.” Additionally, a March
     22, 2022 press release issued by the Town states that it “has confirmed
     to the FAA its intention to proceed with the airport deactivation at 11:59
     p.m. on May 17, 2022.” Please provide: (1) all correspondence between
     the Town and Kimberlee Valdes and/or any other employees of SSC
https://www.faa.gov/foia/email_foia/submitted/                                                                                  1/3
6/24/22, 9:16 AM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 215 of 221
                                                                                                 has been submitted

     Management that was triggered by the notice, and any related
     correspondence or other documents, (2) correspondence between the
     Town and the National Flight Data Center that was triggered by the
     notice, and any related correspondence or other documents, (3) any
     application submitted by the Town through the WebFCR process, and
     any related correspondence or other documents, and (4) the email
     indicating that the Town wants to proceed with de-activation as sent to
     Diogenes Ramos and/or any other FAA employees, and any related
     correspondence or other documents. Additionally, on March 18, 2022,
     FAA issued a notice that purported to be a conditional no objection to the
     establishment of a private-use airport by the Town of East Hampton, New
     York (no. 2022-AEA-415-NRA). The notice stated that: “Any Eastern
     Service Area (ESA) non-Fed Program Office maintenance oversight for
     Non-Fed equipment remaining at the Private-Use airport should be
     deferred to Planning and Requirements - P&R (POC, Phil Barr
     philip.barr@faa.gov) and agreements established as appropriate.” The
     notice also stated that: “The licensee, (Town of East Hampton) is
     required to modify their Airport identifier in their current FCC license's
     WQPY 735 121.9 MHz Ground, 125.225 MHz Local Tower, and WQWJ
     751 118.075M AWOS. Those modifications should be completed as part
     of an Airport Activation process. No changes to technical parameters or
     updates are required. In addition, the applicant (Town of East Hampton)
     should submit an application to the FAA for coordination through the
     WebFCR process and their modifications should be completed in the
     FCC Universal Licensing System (ULS).” The notice also stated that:
     “Please complete, sign and date the enclosed Airport Master Record
     Form and return it to my attention. East Hampton Town Airport is
     activated and assigned/secured a private use location identifier. Please
     indicate on the Airport Master Record Form if you desire to have your
     airport charted. Please be advised that charting of private use airports is
     not guaranteed. Additionally, if charted, there is no guarantee your airport
     will remain on FAA published charts. Charting of private use airports
     relies heavily on landmark value and chart clutter. The inclusion on a
     chart may take several charting cycles and does not coincide with the
     issuance of a location identifier. Instructions for completion of the 5010-5
     Form can be found online at https://www.faa.gov in Advisory Circular
     (AC) 150/5200-35, "Submitting the Airport Master Record in Order to
     Activate a New Airport". The notice also stated that: “Please return the
     Signed 5010 to the FAA indicating you want to proceed with the
     Activation on May 19th, 2022. Please return/email the signed 5010 to
     Diogenes.Ramos@faa.gov.” Please provide (1) all correspondence
     between the Town and Phil Barr and/or any other employees of Planning
     and Requirements that was triggered by the notice, and any related
     correspondence or other documents, (2) any application submitted by the
     Town through the WebFCR process, and any related correspondence or
     other documents, (3) any airport master record form submitted by the
     Town, and any related correspondence or other documents, and (4) the
     signed 5010 as returned to Diogenes Ramos and/or any other FAA
     employees, and any related correspondence or other documents.

     In order to determine my status to assess fees, you should know that my
     fee category is:
     affiliated with a private company and seeking records for the
     company�'s business.


     The maximum dollar amount I am willing to pay for this request is $100.
     Please notify me if the fees will exceed $25.00 or the maximum dollar
     amount I entered.

     Thank you for your consideration of this request.


     Sincerely,

https://www.faa.gov/foia/email_foia/submitted/                                                                                2/3
6/24/22, 9:16 AM                                 Case 1:22-cv-03076 Document   1-1– Your
                                                                         FOIA Form   Filed   10/11/22
                                                                                         request            Page 216 of 221
                                                                                                 has been submitted

     Jol A Silversmith


     Phone: 2029737918
     jsilversmith@kmazuckert.com


     Page last modified: October 12, 2012 9:24:22 AM EDT




https://www.faa.gov/foia/email_foia/submitted/                                                                                3/3
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 217 of 221




                          Exhibit 45
                Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 218 of 221


Jol A. Silversmith

From:              dedra.goodman@faa.gov
Sent:              Friday, October 7, 2022 5:21 PM
To:                Jol A. Silversmith
Subject:           Acknowledgement of FAA FOIA Request FAA-2023-00235
Attachments:       AckLtr_2023-00235 (Silvermsith).pdf



October 7, 2022
Re: Freedom of Information Act (FOIA) Request FAA-2023-00235

Dear Mr. Silversmith:

Please find attached a letter acknowledging the FAA's receipt of your FOIA request dated June 24, 2022,

concerning the following: "[o]n March 18, 2022, FAA issued a notice that purported to be a conditional

no objection to the deactivation of East Hampton Airport (HTO) by the Town of East Hampton, New York

(no. 2022-AEA-313-NRA). The notice stated that: “Coordination will be required with the airport operator

and the FAA National Flight Data Center (NFDC) to update the FAA Chart Supplement with the airport

decommissioning data. The airport needs to coordinate with the NFDC to remove these services from

Aeronautical Information Services.” Please provide correspondence between the Town and the National

Flight Data Center that was triggered by the notice, and any related correspondence or other documents."

Sincerely,

Dedra Goodman

FAA FOIA Officer




                                                      1
     Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 219 of 221




                          01234567589 8 87 9 6      2    3  
                                                          876 
!"#$%&'()*+**
,$-./0-1&'230#4
56.78"9&'#::;
<<<=(#4/#'&&#>?@?A(++
@B240CD#$C)E;*+++F
G&HI'&&J$3$KLCK$'3B#0$C."#MI!L.NG&O8&2#I..P*+*QP++*QR
E&B'6'?/0-1&'230#4H
S402-&##&'B"9C$T-&JD&2'&"&0U#$KV$8'I!L.'&O8&2#JB#&J,8C&*W)*+**?X$8''&O8&2#
2#B#&J)YZ[\]^_`abcdefgffehiijkklmn_][ojamob_opl`p[`omno[qm_a[]njoj[]_r][
[qsmaoj[]o[obmnm_aojt_oj[][uv_kow_xpo[]ij̀p[`oywz{|q}obmz[~][uv_kow_xpo[]e
m~[`y][fgffivic i|zbm][ojamko_omnob_o[[`nj]_oj[]~jrrqm`mlj̀mn
~jobobm_j̀p[`o[pm`_o[`_]nobmhii_oj[]_rhrjbo_o_m]om`yh|o[lpn_omobmhii
b_`olpprmxm]o~jobobm_j̀p[`onma[xxjkkj[]j]n_o_zbm_j̀p[`o]mmnko[a[[`nj]_om
~jobobmho[`mx[tmobmkmkm`tjamkù[xim`[]_loja_r]u[`x_oj[]m`tjamkY
/U&"0K0"B--V)V$8'&O8&2#&JYa[``mkp[]nm]amqmo~mm]obmz[~]_]nobm_oj[]_rhrjbo_o_
m]om`ob_o~_kòjm`mnq}obm][ojame_]n_]}`mr_omna[``mkp[]nm]am[`[obm`n[alxm]ok?Y
X$8''&O8&2#4B2%&&CB220DC&JK$'B"#0$C#$#4&$KK0"&M2N-02#&J%&-$TH
I&J&'B-.10B#0$C.J30C02#'B#0$C             ;$C#B"#H-&CBG0"4B'J2$C
.0'S'BKK0"!'DBC0B#0$C                            &-&CB?'0"4B'J2$CKBB?D$1
<++LCJ&U&CJ&C"&.1&C8&)/@
@B240CD#$C)E;*+R=
/4$8-JV$8T024#$0CO80'&B2#$#4&2#B#82$KV$8''&O8&2#)U-&B2&"$C#B"##4&B220DC&JI!L.
"$$'J0CB#$'M2N?-&B2&'&K&'#$#4&B%$1&'&K&'&C"&JC83%&'$CB--K8#8'&"$''&2U$CJ&C"&
'&DB'J0CD#402'&O8&2#?
/0C"&'&-V)

E&J'B$$J3BC
I..I!L.!KK0"&'
Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 220 of 221




                          Exhibit 46
                Case 1:22-cv-03076 Document 1-1 Filed 10/11/22 Page 221 of 221


Jol A. Silversmith

From:              7-AWA-ARC-FOIA@faa.gov
Sent:              Friday, October 7, 2022 5:15 PM
To:                Jol A. Silversmith
Subject:           Acknowledgement of FAA FOIA Request FAA-2023-00233



October 7, 2022
Re: Freedom of Information Act (FOIA) Request FAA-2023-00233

Dear Mr. Silversmith:

Please find attached a letter acknowledging the FAA's receipt of your FOIA request dated June 24, 2022, for
records

related to FAA notices 2022-AEA-313-NRA and 2022-AEA-415-NRA and the purported deactivation of East
Hampton Airport

by the Town of East Hampton, New York and the establishment of a private-use airport by the Town of East
Hampton, New York, respectively.


Sincerely,

Dedra Goodman

FAA FOIA Officer




                                                      1
